Fill in this information to identify your case:

United States Bankruptcy Court for the:

EASTERN DISTRICT OF MICHIGAN

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                          04/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Boyce Hydro, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                    Mailing address, if different from principal place of
                                                                                                 business

                                  6000 South M-30
                                  P.O. Box 15                                                    10120 West Flamingo Road, Ste 4 #192
                                  Edenville, MI 48620                                            Las Vegas, NV 89147
                                  Number, Street, City, State & ZIP Code                         P.O. Box, Number, Street, City, State & ZIP Code

                                  Midland                                                        Location of principal assets, if different from principal
                                  County                                                         place of business

                                                                                                 Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




                    20-21214-dob           Doc 1        Filed 07/31/20          Entered 07/31/20 21:56:20                   Page 1 of 47
Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                             page 1
Debtor    Boyce Hydro, LLC                                                                            Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                           Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                           Chapter 7
     debtor filing?
                                           Chapter 9
                                           Chapter 11. Check all that apply:
     A debtor who is a “small
     business debtor” must check                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     the first sub-box. A debtor as                              noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     defined in § 1182(1) who                                    $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of
     elects to proceed under                                     operations, cash-flow statement, and federal income tax return or if any of these documents do not
     subchapter V of chapter 11                                  exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     (whether or not the debtor is a                             The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     “small business debtor”) must                               debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
     check the second sub-box.                                   proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                           Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                 Case number
                                                 District                                 When                                 Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                      Debtor     See Bankruptcy Petition Cover Sheet                            Relationship
                                                 District                                 When                             Case number, if known




                  20-21214-dob              Doc 1           Filed 07/31/20          Entered 07/31/20 21:56:20                       Page 2 of 47
Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               page 2
Debtor   Boyce Hydro, LLC                                                                          Case number (if known)
         Name




11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal       Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                    Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                 It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                          The Debtors do not believe that any of their property constitutes hazardous property.
                                                          However, see the Declaration of Lee W. Mueller In Support of First-Day Motions and
                                                Other     Applications for a more detailed description of the Debtors' property.
                                            Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                            Is the property insured?
                                                No
                                                Yes. Insurance agency         Cool Insuring Agency, Inc.
                                                        Contact name          Bob Muncil
                                                        Phone                 518-783-2665


         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                              1,000-5,000                                25,001-50,000
    creditors                       50-99                                             5001-10,000                                50,001-100,000
                                    100-199                                           10,001-25,000                              More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                      $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                    $50,001 - $100,000                                $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                               $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                             $100,000,001 - $500 million                More than $50 billion

16. Estimated liabilities           $0 - $50,000                                      $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                    $50,001 - $100,000                                $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                               $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                             $100,000,001 - $500 million                More than $50 billion




                20-21214-dob              Doc 1         Filed 07/31/20            Entered 07/31/20 21:56:20                     Page 3 of 47
Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
Debtor    Boyce Hydro, LLC                                                                         Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      July 31, 2020
                                                  MM / DD / YYYY


                             X /s/ Lee W. Mueller                                                         Lee W. Mueller
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Co-Managing Member




18. Signature of attorney    X /s/ Matthew E. McClintock                                                   Date July 31, 2020
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Matthew E. McClintock
                                 Printed name

                                 Goldstein & McClintock LLLP
                                 Firm name

                                 111 W Washington Street
                                 Suite 1221
                                 Chicago, IL 60602
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (312) 337-7700                Email address      mattm@goldmclaw.com

                                 6280574 IL
                                 Bar number and State




                 20-21214-dob            Doc 1         Filed 07/31/20            Entered 07/31/20 21:56:20                     Page 4 of 47
Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 4
                                        RESOLUTION
                                              of
                                    BOYCE HYDRO, LLC
                            (a Michigan Limited Liability Company)

                                   Effective as of July 31, 2020

        The undersigned (the “Members”), in their capacity as Co-Managing Members of Boyce
Hydro, LLC, a Michigan limited liability company (the “Company”), and also as Co-Trustees for
the trusts that collectively own 100% of the membership interests in the Company, hereby consent
in writing to the following resolutions.

        WHEREAS, the Members have considered the financial and operational aspects of the
Company’s business and the recommendations of the Company’s professionals and advisors, and
adopt the following resolutions by written consent;

        NOW, THEREFORE, BE IT RESOLVED, that, in the judgment of the Members, it is
desirable and in the best interest of the Company, its creditors, equity holders, and other interested
parties to file a petition (the “Petition”) seeking relief under chapter 11 of title 11 of the United
States Code (the “Bankruptcy Code”) in the United States Bankruptcy Court for the Eastern
District of Michigan (the “Bankruptcy Court”);

        RESOLVED FURTHER, that the Petition is adopted in all respects. Lee W. Mueller (the
“Authorized Representative”) is hereby authorized and directed, on behalf of the Company, to
execute the Petition or authorize the execution of a filing of the Petition by the Company and to
cause the same to be filed with the Bankruptcy Court at such time as the Authorized Representative
considers it appropriate;

        RESOLVED FURTHER, that the Authorized Representative shall be, and hereby is,
authorized, directed, and empowered on behalf of and in the name of the Company to execute,
verify, and cause to be filed such requests for relief from the Bankruptcy Court as the Authorized
Representative may deem necessary, proper, or desirable in connection with the Petition;

         RESOLVED FURTHER, that the Authorized Representative is authorized to execute and
file on behalf of the Company all petitions, schedules, lists, and other motions, papers, or
documents, and to take any and all action that it deems necessary or proper to obtain appropriate
relief for the Company, including, without limitation, any action necessary to maintain the ordinary
course operation of the Company’s business;

       RESOLVED FURTHER, that the law firm of Goldstein & McClintock LLLP shall be, and
hereby is, employed as general bankruptcy counsel for the Company in the Company’s chapter 11
case;

       RESOLVED FURTHER, that the Authorized Representative is authorized and empowered
on behalf of, and in the name of, the Company to retain and to employ other attorneys, brokers,
investment bankers, accountants, restructuring professionals, financial advisors, and other




  20-21214-dob       Doc 1     Filed 07/31/20     Entered 07/31/20 21:56:20         Page 5 of 47
professionals to assist in the Company’s chapter 11 case on such terms as are deemed necessary,
proper, or desirable by the Authorized Representative;

        RESOLVED FURTHER, that the Authorized Representative, and any employees or agents
(including counsel) designated by or directed by such Authorized Representative, shall be, and
each hereby is, authorized and empowered to cause the Company and such of its affiliates as
management deems appropriate to enter into, execute, deliver, certify, file, record, and perform
such agreements, instruments, motions, affidavits, applications for approvals or rulings of
governmental or regulatory authorities, certificates, or other documents, and to take such other
actions, as in the judgment of such Authorized Representative shall be necessary, proper, and
desirable to prosecute to a successful completion of the Company’s chapter 11 case, to effectuate
the restructuring of the Company’s debt, other obligations, organizational form and structure, and
ownership of the Company and its subsidiaries consistent with the foregoing resolutions, and to
carry out and put into effect the purposes of the foregoing resolutions, and the transactions
contemplated by these resolutions, their authority thereunto to be evidenced by the taking of such
actions;

                                    General Authorization

       RESOLVED FURTHER, that the Authorized Representative is authorized and empowered
on behalf of the Company and in its name to take or cause to be taken all actions and to execute
and deliver all such instruments that the Authorized Representative of the Company approves as
necessary or desirable in connection with the foregoing resolutions, such approval to be
conclusively evidenced by the taking of any such action or the execution and delivery of any such
instrument by the Authorized Representative of the Company;

        RESOLVED FURTHER, that any specific resolutions that may be required to have been
adopted in connection with the actions contemplated by the foregoing resolutions be, and they
hereby are, adopted, and the Authorized Representative of the Company is authorized to certify as
to the adoption of any and all such resolutions and attach such resolutions hereto;

        RESOLVED FURTHER, that all actions heretofore taken by the Authorized
Representative or of the Company in connection with or otherwise in contemplation of the
transactions contemplated by any of the foregoing resolutions be, and they hereby are, ratified,
confirmed, and approved; and




                                                2

  20-21214-dob      Doc 1     Filed 07/31/20    Entered 07/31/20 21:56:20        Page 6 of 47
20-21214-dob   Doc 1   Filed 07/31/20   Entered 07/31/20 21:56:20   Page 7 of 47
20-21214-dob   Doc 1   Filed 07/31/20   Entered 07/31/20 21:56:20   Page 8 of 47
1:15 PM                                              Boyce Hydro, LLC
07/12/20                                              Balance Sheet
Cash Basis                                          As of December 31, 2019

                                                                              Dec 31, 19
                   ASSETS
                     Current Assets
                       Checking/Savings
                          Chemical Bank House Account                                        1,142.61
                          Financing account                                                  1,447.77
                          Operating Acct                                                    24,620.46
                          Petty cash                                                           737.09

                       Total Checking/Savings                                               27,947.93

                       Other Current Assets
                         I/C loan to Sanford                                                32,284.64
                         i/c loan to Smallwood Propertie                                    10,250.00

                       Total Other Current Assets                                           42,534.64

                     Total Current Assets                                                   70,482.57

                     Fixed Assets
                        Alloy Chain                                                         11,838.00
                        AutoCAD 2013                                                         5,236.40
                        Blue Star 50kw Diesel generator                                     18,000.00
                        Chain Hoist - 2 ton w/50' chain                                      2,758.00
                        Computer-Windows 7 Drafting                                          1,940.00
                        Crimping Tool & Dies                                                 8,112.38
                        Dissolved Oxygen monitoring Equ                                     30,721.04
                        Ditching bucket for excavators                                       4,634.00
                        Electric heater for shop                                             1,851.93
                        Electrical Upgrades                                                 17,684.66
                        Emergency Spillway Hoists                                           17,979.98
                        Firewood Processor                                                  29,000.00
                        Furniture and Equipment                                              5,263.59
                        HP Color Laser (MI)                                                    699.98
                        HP DesignJet 1055C Plotter                                           2,500.00
                        Hydraulic Power Unit                                                25,130.66
                        JD Auger                                                             3,194.22
                        Jointer                                                              5,500.00
                        Leasehold Improvements                                             230,346.79
                        Mahogany conference table                                            2,830.26
                        Non-dam Improvements                                                 7,305.34
                        Office Remodel
                           Furniture                                                 1,689.61

                       Total Office Remodel                                                     1,689.61

                       Paint Booth                                                           1,940.00
                       Pole-mounted chainsaw                                                   619.95
                       Portable screening plant                                             41,900.00
                       Power Axe Tree Shears                                                 4,200.00
                       Project Upgrade                                                       1,260.00
                       Reusable Concrete Forms                                              34,705.14
                       Rockwell Single Surface Planer                                        1,890.00
                       Rolling stock
                         2006 Chevy Silverado 2500                                  10,879.00
                         2016 Chevy Silverado 1500                                  35,974.56
                         2016 Chevy Silverado dump body                             50,549.40
                         2016 Chevy Silverado Plow Truck                            40,750.00
                         Bandit Wood Chipper 2                                      36,000.00
                         Boat Trailer                                                1,461.13
                         Cargo Trailer                                               3,312.24
                         Concrete pumper & truck                                    42,500.00
                         Dewatering Pump                                             4,500.00
                         Dump truck - 1997 Ford                                     12,069.08
                         Generators & Trailer                                        9,112.02
                         Ingersol Air Compressor                                     3,000.00
                         International Dump Truck                                  104,411.24
                         Interstate Trailer                                         21,250.00
                         JD 333D Skidsteer                                          61,249.42
                                                                                                               Page 1
             20-21214-dob     Doc 1         Filed 07/31/20     Entered 07/31/20 21:56:20        Page 9 of 47
1:15 PM                                                Boyce Hydro, LLC
07/12/20                                               Balance Sheet
Cash Basis                                           As of December 31, 2019

                                                                                Dec 31, 19
                            JD 333E Skidsteer                                          70,500.00
                            JD 960R Z-Track mower/tractor                              13,981.00
                            JD Brushcutter                                              4,075.78
                            JD Crawler Dozer                                           68,000.00
                            John Deere Tractor
                              Tractor rake                                      1,060.00
                              John Deere Tractor - Other                       31,800.00

                            Total John Deere Tractor                                   32,860.00

                            Komatsu Bulldozer                                         25,909.17
                            Komatsu PC-138 excavator                                 122,875.00
                            Komatsu PC200-7 Excavator                                 92,659.20
                            Military 3/4 ton pickup                                   10,549.45
                            Military dump truck                                       15,276.66
                            Pontoon Boat                                               8,685.63
                            Portable Generator                                         3,950.00
                            Quick Pick-N-Sift 76" rod bucke                            1,550.00
                            Quick Snow Away 85"                                        7,150.00
                            Rotary Brush Mower                                         5,395.00
                            Skidsteer Trailer                                          4,439.00
                            Split Fire Log Splitter                                    2,879.00
                            Trencher attachment                                        7,350.00
                            Volvo dump truck                                          13,000.00

                        Total Rolling stock                                                    948,102.98

                        Rolling stock - sold/scrapped
                          2000 GMC Sonoma Pickup Truck                                 15,000.00
                          Chevy S 10 Put F198                                           6,633.00
                          New Skidsteer and Trailer                                    29,239.19
                          Wood Chipper TRADED IN 07-2012                                6,258.82

                        Total Rolling stock - sold/scrapped                                     57,131.01

                        Sanford Turbine Parts                                                    17,439.68
                        Sounding tool                                                             6,399.85
                        Spider Mower                                                             21,000.00
                        Whisperwatt Diesel generator                                             14,000.00
                        Winch                                                                     6,672.40
                        Wood burning stove                                                        8,068.00
                        Wyler Mini Level                                                          7,452.00
                        z-Accumulated Depreciation                                           -1,330,041.76

                     Total Fixed Assets                                                        276,956.09

                     Other Assets
                       Covenant not to compete                                                 400,000.00
                       Due from Boyce Trusts                                                 1,409,444.00
                       Note Receivable - 2004 Chevy                                              2,874.00
                       z-Accumulated Amortization                                             -368,888.67

                     Total Other Assets                                                      1,443,429.33

                   TOTAL ASSETS                                                              1,790,867.99

                   LIABILITIES & EQUITY
                      Liabilities
                         Current Liabilities
                            Accounts Payable
                                Accounts Payable                                                15,793.06

                            Total Accounts Payable                                              15,793.06

                            Credit Cards
                              Bank of America Visa - 6360                                       33,102.89
                              Elan                                                               5,500.00

                            Total Credit Cards                                                  38,602.89

                                                                                                                   Page 2
             20-21214-dob      Doc 1      Filed 07/31/20       Entered 07/31/20 21:56:20           Page 10 of 47
1:15 PM                                               Boyce Hydro, LLC
07/12/20                                               Balance Sheet
Cash Basis                                           As of December 31, 2019

                                                                                Dec 31, 19
                            Other Current Liabilities
                              Ally Financial truck loan                                         12,070.86
                              AP Adj                                                           -15,793.06
                              Chemical Bank 2016 plow truck l                                    7,305.15
                              Chemical Bank 2016 truck loan                                      5,010.55
                              Clark Hill billings not paid                                      68,980.23
                              I/C Loan - Secord HP LLC                                          30,956.15
                              I/C Loan from Boyce MI LLC                                        25,650.00
                              I/C WDB Tr 3649 12-15-2009                                        20,305.86
                              J.E.M. disputed invoice                                            1,137.71

                            Total Other Current Liabilities                                   155,623.45

                        Total Current Liabilities                                             210,019.40

                     Total Liabilities                                                        210,019.40

                     Equity
                       WDB Trust#2350-30.55%                                                  516,122.66

                        WDB Trust#3649-46.30%                                                 782,212.00

                        WDB Trust#3650-23.15%                                                 391,104.00

                        Net Income                                                            -108,590.07

                     Total Equity                                                            1,580,848.59

                   TOTAL LIABILITIES & EQUITY                                                1,790,867.99




                                                                                                                Page 3
             20-21214-dob      Doc 1       Filed 07/31/20       Entered 07/31/20 21:56:20       Page 11 of 47
12:40 PM                                              Boyce Hydro, LLC
07/12/20                                                 Profit & Loss
Cash Basis                                    January through December 2019

                                                                                     Jan - Dec 19
                     Ordinary Income/Expense
                          Income
                             100 - Income                                                       1,648.05

                              102 - Sales
                                Scrap metal                                              1,290.00
                                102 - Sales - Other                                        450.00

                              Total 102 - Sales                                                 1,740.00

                              Discounts taken                                                      63.86
                              Operations income                                             1,100,000.00
                              Rebate from credit card                                             403.25

                            Total Income                                                    1,103,855.16

                            Cost of Goods Sold
                              Cost of Goods Sold                                                4,678.34

                            Total COGS                                                          4,678.34

                       Gross Profit                                                         1,099,176.82

                            Expense
                              200 - Security
                                202 - Surveillance system equip                             15.00
                                200 - Security - Other                                   2,459.44

                              Total 200 - Security                                              2,474.44

                              210 - Automobile Expenses
                                211 - Gasoline                                          22,284.37
                                212 - Licenses & Fees                                    5,828.00
                                213 - Parts                                              6,980.75
                                214 - Repairs                                            8,986.71
                                215 - Other                                                711.72
                                216 - Deisel Fuel                                        7,253.64

                              Total 210 - Automobile Expenses                                  52,045.19

                              220 - Bank Service Charges
                                223 - Late Fees                                             75.96
                                220 - Bank Service Charges - Other                         868.85

                              Total 220 - Bank Service Charges                                      944.81

                              230 - Equipment Rental                                            3,977.47
                              250 - Dues & Subscriptions                                          331.99

                              260 - Insurance
                                261 - Auto                                                  -8.47
                                263 - Commercial Auto                                   15,167.13
                                264 - General Liability                                 32,003.76
                                265 - Life & Disability                                  9,387.78
                                266 - Medical                                           37,226.64
                                267 - Property Insurance                                42,732.87
                                268 - Workers' Compensation                              6,771.00
                                269 - Ins (Other)                                           34.22

                              Total 260 - Insurance                                           143,314.93

                              270 - Interest Expense
                                271 - Finance charges                                    2,922.53
                                272 - Loan Interest                                      2,307.37

                              Total 270 - Interest Expense                                      5,229.90

                              280 - Internet Services                                           1,419.05
                              290 - Licenses & Permits                                              0.00



                                                                                                                Page 1
             20-21214-dob      Doc 1       Filed 07/31/20         Entered 07/31/20 21:56:20     Page 12 of 47
12:40 PM                                             Boyce Hydro, LLC
07/12/20                                              Profit & Loss
Cash Basis                                   January through December 2019

                                                                                    Jan - Dec 19
                            300 - Maintenance
                              301 - Trash Removal                                       1,317.83
                              302 - Office Cleaning                                     3,223.48
                              303 - Office/Shop Building                                  863.40
                              304 - Dams                                                2,690.70
                              305 - Plant Buildings                                     1,592.36
                              306 - Generating Equipment                               10,334.91
                              307 - Construction Equipment                              3,275.79
                              308 - Other Equipment                                       976.63
                              309 - Maintenance Other                                     503.19
                              300 - Maintenance - Other                                   125.04

                            Total 300 - Maintenance                                           24,903.33

                            320 - Public Relations                                                   0.00

                            330 - Office Supplies
                              331 - Furniture                                           1,207.02
                              334 - Other                                               2,446.05
                              335 - Computer Hardware                                     571.47
                              336 - Computer Software                                   1,144.17
                              330 - Office Supplies - Other                             5,170.89

                            Total 330 - Office Supplies                                       10,539.60

                            340 - Payroll
                              341 - Payroll Processing                                  2,518.54
                              342 - Contract Labor                                      5,589.28
                              343 - Employee incentives                                   350.00
                              344 - HSA account deposit                                     0.00
                              345 - Garnishment                                             0.00
                              346 - POP Administration                                     87.50
                              340 - Payroll - Other                                   463,570.12

                            Total 340 - Payroll                                              472,115.44

                            350 - Payroll Tax Expenses
                              351 - Employer FICA                                      34,535.76
                              352 - Fed Unemp. FUTA                                       544.78
                              353 - MI Unemployment                                    11,036.72
                              354 - NV Unemployment                                       936.01

                            Total 350 - Payroll Tax Expenses                                  47,053.27

                            360 - Printing & Reproduction                                          240.90

                            370 - Postage & Delivery
                              371 - FedEx                                                 104.01
                              372 - Trucking                                            1,252.33
                              370 - Postage & Delivery - Other                          1,104.68

                            Total 370 - Postage & Delivery                                     2,461.02

                            380 - Legal Costs                                                  1,242.82
                            390 - Professional Fees
                              391 - Accounting & Bookkeeping                            1,150.00
                              392 - Legal Fees                                        115,412.59
                              394 - Engineering                                        24,740.00
                              395 - Surveying                                           3,395.00
                              398 - Drafting                                            3,061.50
                              399 - IT Support                                          2,924.00
                              390 - Professional Fees - Other                          37,605.50

                            Total 390 - Professional Fees                                    188,288.59




                                                                                                               Page 2
             20-21214-dob   Doc 1       Filed 07/31/20           Entered 07/31/20 21:56:20     Page 13 of 47
12:40 PM                                             Boyce Hydro, LLC
07/12/20                                              Profit & Loss
Cash Basis                                   January through December 2019

                                                                                 Jan - Dec 19
                            400 - Repairs
                              401 - Office/Shop Building                             3,735.91
                              402 - Computer Repairs                                   445.90
                              403 - Dams                                            12,788.64
                              404 - Generating Equipment                            12,695.93
                              405 - Plant Buildings                                  2,539.98
                              406 - Construction Equipment                          24,906.14
                              407 - Other Equipment                                    991.52
                              408 - Repairs, Other                                      16.94
                              409 Parts                                                501.44
                              400 - Repairs - Other                                  3,273.07

                            Total 400 - Repairs                                            61,895.47

                            410 - Rent Paid
                              412 - PO Box Rent                                         54.00

                            Total 410 - Rent Paid                                               54.00

                            420 - Supplies/Pwr Operations
                              421 - Lubricating Oil                                  1,611.42
                              422 - Supplies - Other                                 2,988.26
                              423 - Shop Supplies                                    4,584.56
                              424 - Communications/Alarm                                81.15
                              425 - Safety Supplies                                    466.73
                              420 - Supplies/Pwr Operations - Other                  8,786.63

                            Total 420 - Supplies/Pwr Operations                            18,518.75

                            430 - Taxes
                              431 - Sales Tax                                        2,563.67
                              430 - Taxes - Other                                    1,709.85

                            Total 430 - Taxes                                               4,273.52

                            440 - Telephone
                              441 - Cell phones                                      3,345.46
                              443 - Sanford                                            479.88
                              444 - Secord                                             369.88
                              445 - Smallwood                                          539.86
                              447 - Internet Access                                  2,294.25
                              448 - Long Distance                                        0.89
                              440 - Telephone - Other                                5,947.46

                            Total 440 - Telephone                                          12,977.68

                            450 - Travel
                              451 - Airline                                          3,719.00
                              452 - Car Rental                                         117.16
                              453 - Lodging                                          2,037.45
                              454 - Meals                                            2,707.74
                              455 - Parking                                             74.00
                              456 - Mileage                                          1,182.56
                              450 - Travel - Other                                     154.35

                            Total 450 - Travel                                              9,992.26

                            460 - Tools
                              461 - Construction supplies                            1,333.34
                              462 - Parts                                            1,251.15
                              463 - Storage                                            474.66
                              460 - Tools - Other                                    5,303.08

                            Total 460 - Tools                                               8,362.23




                                                                                                            Page 3
             20-21214-dob   Doc 1       Filed 07/31/20        Entered 07/31/20 21:56:20     Page 14 of 47
12:40 PM                                              Boyce Hydro, LLC
07/12/20                                                Profit & Loss
Cash Basis                                      January through December 2019

                                                                                     Jan - Dec 19
                              470 - Utilities
                                471 - Electric - Office                                  1,824.84
                                472 - Electric - Tobacco Dam                               277.89
                                473 - Utilities - Edenville pow                          1,193.06
                                474 - Electric (shop)                                      413.85
                                470 - Utilities - Other                                  1,332.96

                              Total 470 - Utilities                                             5,042.60

                              Amortization Expense                                             26,666.67
                              Depreciation Expense                                             67,422.78
                              Dissolved oxygen monitoring
                                 Tools & Equipment                                         750.59
                                 Dissolved oxygen monitoring - Other                     1,161.10

                              Total Dissolved oxygen monitoring                                 1,911.69

                              Equipment purchase                                                    0.00
                              Firewood sales tools & supplies                                      15.86
                              Miscellaneous expense                                             1,332.46

                            Total Expense                                                   1,175,048.72

                     Net Ordinary Income                                                       -75,871.90

                     Other Income/Expense
                       Other Income
                          Gain/Loss on Asset Disposal                                           3,200.00
                          Interest Income                                                           4.07
                          Proceeds from Sale of Assets                                              0.00

                       Total Other Income                                                       3,204.07

                       Other Expense
                         Medical expenses                                                         213.00
                         Reimbursed Expenses                                                   35,709.24

                       Total Other Expense                                                     35,922.24

                     Net Other Income                                                          -32,718.17

                   Net Income                                                                 -108,590.07




                                                                                                                Page 4
             20-21214-dob       Doc 1       Filed 07/31/20        Entered 07/31/20 21:56:20     Page 15 of 47
BOY006 04/15/2020 3:02 PM




 Form                                                 1065                                                                                            U.S. Return of Partnership Income
                                                                                                                 For calendar year 2019, or tax year beginning . . . . . . . . . . . . . . . . . . . . . . . . . . , ending . . . . . . . . . . . . . . . . . . . . .                                       .
                                                                                                                                                                                                                                                                                                                            OMB No. 1545-0123

 Department of the Treasury
 Internal Revenue Service                                                                                                    u Go to www.irs.gov/Form1065 for instructions and the latest information.                                                                                                                           2019
 A                                                Principal business activity                                             Name of partnership                                                                                                                                               D          Employer identification number


                        Power Plant                                                                                       Boyce Hydro, LLC                                                                                                                                                             XX-XXXXXXX
 B                                                Principal product or service                        Type                Number, street, and room or suite no. If a P.O. box, see the instructions.                                                                                        E          Date business started
                                                                                                       or
                        Electricity                                                                   Print               6000 South M30, P.O. Box 15                                                                                                                                                  07/01/2007
 C                                                Business code number                                                    City or town, state or province, country, and ZIP or foreign postal code                                                                                          F          Total assets
                                                                                                                                                                                                                                                                                                       (see instructions)
                                                                                                                          Edenville                                                                              MI 48620                                                                              $                     1,790,867
                                                  221100
 G                                                Check applicable boxes:  (1)                                            Initial return                 (2)               Final return (3)                              Name change (4)               Address change (5)                                          Amended return
 H                                                Check accounting method: (1)                                   X Cash                                  (2)               Accrual      (3)                              Other (specify) u . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 I Number of Schedules K-1. Attach one for each person who was a partner at any time during the tax year u . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 3                                                             ..
 J Check if Schedules C and M-3 are attached . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . u
 K Check if partnership: (1)      Aggregated activities for section 465 at-risk purposes (2)                                                               Grouped activities for section 469 passive activity purposes
 Caution: Include only trade or business income and expenses on lines 1a through 22 below. See instructions for more information.
      1a Gross receipts or sales . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 1a               1,103,855
       b Returns and allowances . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .    1b
       c Balance. Subtract line 1b from line 1a . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .      1c                       1,103,855
                                                    2       Cost of goods sold (attach Form 1125-A) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                  2                   4,678
  Income




                                                    3       Gross profit. Subtract line 2 from line 1c . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                             3               1,099,177
                                                    4       Ordinary income (loss) from other partnerships, estates, and trusts (attach statement) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                         4
                                                    5       Net farm profit (loss) (attach Schedule F (Form 1040 or 1040-SR)) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                              5
                                                    6       Net gain (loss) from Form 4797, Part II, line 17 (attach Form 4797) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                            6                              3,200
                                                    7       Other income (loss) (attach statement) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                               7
                                                    8       Total income (loss). Combine lines 3 through 7 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                           8               1,102,377
                                                    9       Salaries and wages (other than to partners) (less employment credits) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                                  9                 472,115
  Deductions (see instructions for limitations)




                                                   10       Guaranteed payments to partners . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                           10
                                                   11       Repairs and maintenance . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                 11                         86,798
                                                   12       Bad debts . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .               12
                                                   13       Rent . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .        13                             54
                                                   14       Taxes and licenses . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                          14                         51,327
                                                   15       Interest (see instructions) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                             15                          5,313
                                                   16a Depreciation (if required, attach Form 4562) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 16a                                                                 67,426
                                                     b Less depreciation reported on Form 1125-A and elsewhere on return . . . . . . . . . . . . 16b                                                                                                                         16c                                                       67,426
                                                   17 Depletion (Do not deduct oil and gas depletion.) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                     17
                                                   18 Retirement plans, etc. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 18
                                                   19       Employee benefit programs . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                   19
                                                   20       Other deductions (attach statement) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . See     . . . . . . . . . Statement
                                                                                                                                                                                                                    . . . . . . . . . . . . . . . . . . . . . .1.....                                       20                 550,220
                                                   21       Total deductions. Add the amounts shown in the far right column for lines 9 through 20 . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                                                      21               1,233,253
                                                   22       Ordinary business income (loss). Subtract line 21 from line 8 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                           22                -130,876
                                                   23       Interest due under the look-back method—completed long-term contracts (attach Form 8697) . . . . . . . . . . . . . . . . . . . .                                                                                                                23
  Tax and Payment




                                                   24       Interest due under the look-back method—income forecast method (attach Form 8866) . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                                                         24
                                                   25       BBA AAR imputed underpayment (see instructions) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                               25
                                                   26       Other taxes (see instructions) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                  26
                                                   27       Total balance due. Add lines 23 through 26 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                      27
                                                   28       Payment (see instructions) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                28
                                                   29       Amount owed. If line 28 is smaller than line 27, enter amount owed . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                                29
                                                   30       Overpayment. If line 28 is larger than line 27, enter overpayment . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                           30
                                                             Under penalties of perjury, I declare that I have examined this return, including accompanying schedules and statements, and to the best of my knowledge
 Sign                                                        and belief, it is true, correct, and complete. Declaration of preparer (other than partner or limited liability company member) is based on all information of
                                                             which preparer has any knowledge.                                                                                                                              May the IRS discuss this return
 Here                                                                                                                                                                                                                       with the preparer shown below (see

                                                                  Signature of partner or limited liability company member                                                              Date
                                                                                                                                                                                                                            instructions)?         Yes                                                                           X                No

                                                               Print/Type preparer's name                                                                              Preparer's signature                                                                                  Date                          Check            if       PTIN
 Paid    Matthew H. Swan                                                                                                                                            Matthew H. Swan                                                                                           04/15/20                     self-employed         P00286806
 Preparer FFirm's name   u Swan                                                                            & Gardiner, CPA's, LLC                                                                                                                                                           Firm's EIN u            XX-XXXXXXX
 Use Only Firm's address u 9005                                                                            W. Sahara Ave
                                                                                                      Las Vegas, NV             89117                                                                                                                                                       Phone no.              702-869-9700
 For Paperwork Reduction Act Notice, see separate instructions.                                                                                                                                                                                                                                                                  Form   1065 (2019)
 DAA                                                                  20-21214-dob                                       Doc 1                     Filed 07/31/20                                      Entered 07/31/20 21:56:20                                                                 Page 16 of 47
BOY006 04/15/2020 3:02 PM


 Form 1065 (2019)                 Boyce Hydro, LLC                                                                                                                      XX-XXXXXXX                                                                                      Page 2
   Schedule B                        Other Information
  1     What type of entity is filing this return? Check the applicable box:                                                                                                                                                                                       Yes      No
   a       Domestic general partnership                  b        Domestic limited partnership
   c    X Domestic limited liability company             d        Domestic limited liability partnership
   e       Foreign partnership                           f        Other u
  2     At the end of the tax year:
   a    Did any foreign or domestic corporation, partnership (including any entity treated as a partnership), trust, or tax-
        exempt organization, or any foreign government own, directly or indirectly, an interest of 50% or more in the profit,
        loss, or capital of the partnership? For rules of constructive ownership, see instructions. If “Yes,” attach Schedule
        B-1, Information on Partners Owning 50% or More of the Partnership . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                X
   b    Did any individual or estate own, directly or indirectly, an interest of 50% or more in the profit, loss, or capital of
        the partnership? For rules of constructive ownership, see instructions. If “Yes,” attach Schedule B-1, Information
        on Partners Owning 50% or More of the Partnership . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                 X
  3     At the end of the tax year, did the partnership:
   a    Own directly 20% or more, or own, directly or indirectly, 50% or more of the total voting power of all classes of
        stock entitled to vote of any foreign or domestic corporation? For rules of constructive ownership, see instructions.
        If "Yes," complete (i) through (iv) below . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .             X
                                                                                                                                                                                                                                                            (iv) Percentage
                                 (i) Name of Corporation                                                      (ii) Employer Identification                                                   (iii) Country of                                               Owned in Voting
                                                                                                                    Number (if any)                                                           Incorporation                                                      Stock




   b    Own directly an interest of 20% or more, or own, directly or indirectly, an interest of 50% or more in the profit, loss,
        or capital in any foreign or domestic partnership (including an entity treated as a partnership) or in the beneficial
        interest of a trust? For rules of constructive ownership, see instructions. If “Yes,” complete (i) through (v) below . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                                        X
                                                                                                 (ii) Employer                                                                                                                                               (v) Maximum
                              (i) Name of Entity                                                                                            (iii) Type of                                              (iv) Country of
                                                                                                 Identification                                                                                                                                         Percentage Owned in
                                                                                                Number (if any)                                  Entity                                                 Organization                                    Profit, Loss, or Capital




  4     Does the partnership satisfy all four of the following conditions?                                                                                                                                                                                         Yes      No
   a    The partnership's total receipts for the tax year were less than $250,000.
   b    The partnership's total assets at the end of the tax year were less than $1 million.
   c    Schedules K-1 are filed with the return and furnished to the partners on or before the due date (including
        extensions) for the partnership return.
   d    The partnership is not filing and is not required to file Schedule M-3 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                            X
        If “Yes,” the partnership is not required to complete Schedules L, M-1, and M-2; item F on page 1 of Form 1065;
        or item L on Schedule K-1.
  5     Is this partnership a publicly traded partnership as defined in section 469(k)(2)? . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                      X
  6     During the tax year, did the partnership have any debt that was canceled, was forgiven, or had the terms modified
        so as to reduce the principal amount of the debt? . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                           X
  7     Has this partnership filed, or is it required to file, Form 8918, Material Advisor Disclosure Statement, to provide
        information on any reportable transaction? . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                X
  8     At any time during calendar year 2019, did the partnership have an interest in or a signature or other authority over
        a financial account in a foreign country (such as a bank account, securities account, or other financial account)?
        See instructions for exceptions and filing requirements for FinCEN Form 114, Report of Foreign Bank and
        Financial Accounts (FBAR). If “Yes,” enter the name of the foreign country. u                                                                                                                                                                                       X
  9   At any time during the tax year, did the partnership receive a distribution from, or was it the grantor of, or
      transferor to, a foreign trust? If “Yes,” the partnership may have to file Form 3520, Annual Return To Report
      Transactions With Foreign Trusts and Receipt of Certain Foreign Gifts. See instructions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                       X
  10a Is the partnership making, or had it previously made (and not revoked), a section 754 election? . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                               X
      See instructions for details regarding a section 754 election.
    b Did the partnership make for this tax year an optional basis adjustment under section 743(b) or 734(b)? If “Yes,”
      attach a statement showing the computation and allocation of the basis adjustment. See instructions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                                       X
                                                                                                                                                                                                                                                            Form   1065 (2019)
 DAA                    20-21214-dob                                 Doc 1                  Filed 07/31/20                               Entered 07/31/20 21:56:20                                                      Page 17 of 47
BOY006 04/15/2020 3:02 PM


 Form 1065 (2019)                       Boyce Hydro, LLC                                                                                                                               XX-XXXXXXX                                                                                           Page 3
    Schedule B                             Other Information (continued)
                                                                                                                                                                                                                                                                                       Yes    No
     Is the partnership required to adjust the basis of partnership assets under section 743(b) or 734(b) because of a
     c
     substantial built-in loss (as defined under section 743(d)) or substantial basis reduction (as defined under section
     734(d))? If "Yes," attach a statement showing the computation and allocation of the basis adjustment. See instructions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                                         X
 11  Check this box if, during the current or prior tax year, the partnership distributed any property received in a like-
     kind exchange or contributed such property to another entity (other than disregarded entities wholly owned by the
     partnership throughout the tax year) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 12  At any time during the tax year, did the partnership distribute to any partner a tenancy-in-common or other
     undivided interest in partnership property? . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                      X
 13  If the partnership is required to file Form 8858, Information Return of U.S. Persons With Respect To Foreign
     Disregarded Entities (FDEs) and Foreign Branches (FBs), enter the number of Forms 8858 attached. See
     instructions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 14  Does the partnership have any foreign partners? If "Yes," enter the number of Forms 8805, Foreign Partner's
     Information Statement of Section 1446 Withholding Tax, filed for this partnership. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                                                                     X
 15  Enter the number of Forms 8865, Return of U.S. Persons With Respect to Certain Foreign Partnerships, attached
     to this return . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                          0
 16a Did you make any payments in 2019 that would require you to file Form(s) 1099? See instructions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                                                  X
   b If "Yes," did you or will you file required Form(s) 1099? . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                            X
 17  Enter the number of Form(s) 5471, Information Return of U.S. Persons With Respect To Certain Foreign
     Corporations, attached to this return . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                     0
 18  Enter the number of partners that are foreign governments under section 892 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                                                       0
 19  During the partnership’s tax year, did the partnership make any payments that would require it to file Form 1042
     and 1042-S under chapter 3 (sections 1441 through 1464) or chapter 4 (sections 1471 through 1474)? . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                                                               X
 20  Was the partnership a specified domestic entity required to file Form 8938 for the tax year? See the Instructions
     for Form 8938 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .          X
 21  Is the partnership a section 721(c) partnership, as defined in Regulations section 1.721(c)-1T(b)(14)? . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                                                       X
 22  During the tax year, did the partnership pay or accrue any interest or royalty for which the deduction is not allowed
     under section 267A? See instructions. If “Yes,” enter the total amount of the disallowed deductions . . . . . .                                                                                                                       $                                                  X
 23  Did the partnership have an election under section 163(j) for any real property trade or business or any farming
     business in effect during the tax year? See instructions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                     X
 24  Does the partnership satisfy one or more of the following? See instructions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                            X
   a The partnership owns a pass-through entity with current, or prior year carryover, excess business interest
     expense.
   b The partnership’s aggregate average annual gross receipts (determined under section 448(c)) for the 3 tax years
     preceding the current tax year are more than $26 million and the partnership has business interest.
   C The partnership is a tax shelter (see instructions) and the partnership has business interest expense.
     If “Yes” to any, complete and attach Form 8990.
 25  Is the partnership electing out of the centralized partnership audit regime under section 6221(b)? See instructions.                                                                                                                                                                     X
     If “Yes,” the partnership must complete Schedule B-2 (Form 1065). Enter the total from Schedule B-2, Part III,
     line 3 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
     If “No,” complete Designation of Partnership Representative below.
 Designation of Partnership Representative (see instructions)
 Enter below the information for the partnership representative (PR) for the tax year covered by this return.
 Name of PR                             Lee Mueller
 U.S. address of PR
                                           10120 W. Flamingo Rd, Ste 4 #192                                                                                                                        U.S. phone number of
                                           Las Vegas            NV 89147                                                                                                                           PR                                                       702-367-7302
 If the PR is an entity, name of the designated individual for the PR
 U.S. address of                                                                                                                                                                                   U.S. phone number of
 designated individual                                                                                                                                                                             designated individual

 26         Is the partnership attaching Form 8996 to certify as a Qualified Opportunity Fund? . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                            X
            If “Yes,” enter the amount from Form 8996, line 14 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .       $
 27         Enter the number of foreign partners subject to section 864(c)(8) as a result of transferring all or a portion of an
            interest in the partnership or of receiving a distribution from the partnership . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                               0
 28         At any time during the tax year, were there any transfers between the partnership and its partners subject to the
            disclosure requirements of Regulations section 1.707-8? . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                 X
                                                                                                                                                                                                                                                                                Form   1065 (2019)


 DAA                          20-21214-dob                                    Doc 1                   Filed 07/31/20                                  Entered 07/31/20 21:56:20                                                           Page 18 of 47
BOY006 04/15/2020 3:02 PM
 Form 1065 (2019)                                      Boyce Hydro, LLC                                                                                                                                     XX-XXXXXXX                                                                          Page 4
       Schedule K                                         Partners' Distributive Share Items                                                                                                                                                                                     Total amount
                                   1      Ordinary business income (loss) (page 1, line 22) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                1            -130,876
                                   2 Net rental real estate income (loss) (attach Form 8825) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                           2
                                   3a Other gross rental income (loss) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 3a
                                    b Expenses from other rental activities (attach statement) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .           3b
                                    c Other net rental income (loss). Subtract line 3b from line 3a . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                              3c
          Income (Loss)




                                   4 Guaranteed payments: a Services                          4a                                                                   b Capital                4b
                                      c Total. Add lines 4a and 4b . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                               4c
                                   5 Interest income . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                 5                          4
                                   6 Dividends and dividend equivalents: a Ordinary dividends . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                    6a
                                          b Qualified dividends 6b                                                                                  c Dividend equivalents 6c
                                   7      Royalties . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .    7
                                   8      Net short-term capital gain (loss) (attach Schedule D (Form 1065)) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                     8
                                  9a Net long-term capital gain (loss) (attach Schedule D (Form 1065)) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                         9a
                                   b Collectibles (28%) gain (loss) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 9b
                                   c Unrecaptured section 1250 gain (attach statement) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .      9c
                                 10 Net section 1231 gain (loss) (attach Form 4797) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                     10
                                 11 Other income (loss) (see instructions) Type u                                                                                                                                                                                       11
                                                                                                                                                                                                                                                                                                    0
          Deductions




                                 12 Section 179 deduction (attach Form 4562) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                12
                                 13a Contributions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .            13a
                                     b Investment interest expense . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                            13b
                                     c Section 59(e)(2) expenditures:(1) Type u . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . (2) Amount u                                          13c(2)
                                     d Other deductions (see instructions) Type u                                                                                                                                                                                       13d
 Employ-




                                 14a Net earnings (loss) from self-employment . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                             14a
 ment




                                   b Gross farming or fishing income . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                  14b
 Self-




                                   c Gross nonfarm income . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                           14c
                                 15a Low-income housing credit (section 42(j)(5)) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                               15a
                                   b Low-income housing credit (other) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                    15b
          Credits




                                     c Qualified rehabilitation expenditures (rental real estate) (attach Form 3468, if applicable) . . . . . . . . . . . . . . . . . . . . . .                                                                                         15c
                                     d Other rental real estate credits (see instructions)                 Type u . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                           15d
                                     e Other rental credits (see instructions)                             Type u . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                           15e
                                   f Other credits (see instructions)                                                                   Type u                                                                                                                          15f
                                 16a Name of country or U.S. possession u . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                   b Gross income from all sources . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                  16b
                                     c Gross income sourced at partner level . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                        16c
          Foreign Transactions




                                       Foreign gross income sourced at partnership level
                                     d Reserved for future use u . . . . . . . . . . . . . . . . . . . . . . . . . . e Foreign branch category u . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                          16e
                                     f Passive category u . . . . . . . . . . . . . . . . . . . . . . . . . . .                        g General category u . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                        h Other u                  16h
                                       Deductions allocated and apportioned at partner level
                                     i Interest expense u . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . j   Other . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . u                                         16j
                                       Deductions allocated and apportioned at partnership level to foreign source income
                                     k Reserved for future use u . . . . . . . . . . . . . . . . . . . . . . . . . .         l Foreign branch category u . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                  16l
                                     m Passive category u . . . . . . . . . . . . . . . . . . . . . . . . . . . n General category u . . . . . . . . . . . . . . . . . . . . . . . . . . . . . o Other u                                                                16o
                                     p Total foreign taxes (check one): u Paid                   Accrued                        ......................                                                                                                                  16p
                                     q Reduction in taxes available for credit (attach statement) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                         16q
                                     r Other foreign tax information (attach statement) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                 17a Post-1986 depreciation adjustment . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                      17a                     -357
Other Information Minimum Tax
                  (AMT) Items




                                   b Adjusted gain or loss . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                      17b
                  Alternative




                                   c Depletion (other than oil and gas) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                   17c
                                   d Oil, gas, and geothermal properties – gross income . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                         17d
                                   e Oil, gas, and geothermal properties – deductions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                     17e
                                   f Other AMT items (attach statement) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                       17f
                                 18a Tax-exempt interest income . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                               18a
                                   b Other tax-exempt income . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                            18b
                                   c Nondeductible expenses . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                           18c
                                 19a Distributions of cash and marketable securities . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                  19a
                                   b Distributions of other property . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                              19b
                                 20a Investment income . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                    20a                         4
                                   b Investment expenses . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                        20b
                                   c Other items and amounts (attach statement) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . See                          . . . . . . . . . Statement
                                                                                                                                                                                               . . . . . . . . . . . . . . . . . . . . . .2.....
 DAA                                         20-21214-dob                                     Doc 1                    Filed 07/31/20                                     Entered 07/31/20 21:56:20                                                               Page 19 of 47Form 1065 (2019)
BOY006 04/15/2020 3:02 PM
 Form 1065 (2019)                       Boyce Hydro, LLC                                                                                                XX-XXXXXXX                                                                      Page 5
 Analysis of Net Income (Loss)
  1       Net income (loss). Combine Schedule K, lines 1 through 11. From the result, subtract the sum of Schedule K, lines 12 through 13d, and 16p 1                                                                            -130,872
  2       Analysis by                                         (ii) Individual           (iii) Individual                                     (v) Exempt                                                                           (vi)
                                    (i) Corporate                                                              (iv) Partnership
          partner type:                                           (active)                  (passive)                                      Organization                                                                      Nominee/Other
    a General partners
    b Limited partners                                                                                                                                                                                                            -130,872
    Schedule L         Balance Sheets per Books                                                               Beginning of tax year                                                                            End of tax year
                                   Assets                                                               (a)                                     (b)                                               (c)                             (d)
   1 Cash . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                      22,378                                                                           27,949
   2a Trade notes and accounts receivable . . . . . . . .
    b Less allowance for bad debts . . . . . . . . . . . . . . . .
   3 Inventories . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
   4 U.S. government obligations . . . . . . . . . . . . . . . . .
   5 Tax-exempt securities . . . . . . . . . . . . . . . . . . . . . . . .
   6 Other current assets                  See Stmt 3                                                                                              10,000                                                                           45,409
          (attach statement)              ...............................
  7a Loans to partners (or persons related to partners) . .
   b Mortgage and real estate loans . . . . . . . . . . . . . .
  8 Other investments
          (attach statement) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
  9a Buildings and other depreciable assets . . . . . .                                              1,581,393                                                                           1,606,997
   b Less accumulated depreciation . . . . . . . . . . . . . .                                       1,278,211                                 303,182                                   1,330,043                                276,954
 10a Depletable assets . . . . . . . . . . . . . . . . . . . . . . . . . . . .
   b Less accumulated depletion . . . . . . . . . . . . . . . . .
 11 Land (net of any amortization) . . . . . . . . . . . . . . .
 12a Intangible assets (amortizable only) . . . . . . . . .                                             400,000                                                                                  400,000
   b Less accumulated amortization . . . . . . . . . . . . . .                                          342,222                            57,778                                                368,889                        31,111
 13 Other assets            See Stmt 4                                                                                                  1,409,444                                                                            1,409,444
          (attach statement) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 14       Total assets . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                              1,802,782                                                                            1,790,867
                    Liabilities and Capital
 15       Accounts payable . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 16       Mortgages, notes, bonds payable in less than 1 year                                                                                  113,343                                                                            232,300
 17       Other current liabilities
          (attach statement) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 18       All nonrecourse loans . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .

 19a Loans from partners (or persons related to partners)
   b Mortgages, notes, bonds payable in 1 year or more . . . . . .
 20 Other liabilities
          (attach statement) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 21       Partners' capital accounts . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                            1,689,439                                                                            1,558,567
 22       Total liabilities and capital . . . . . . . . . . . . . . . . . . . .                                                         1,802,782                                                                            1,790,867
    Schedule M-1                                   Reconciliation of Income (Loss) per Books With Income (Loss) per Return
                                                   Note: The partnership may be required to file Schedule M-3. See instructions.
  1       Net income (loss) per books . . . . . . . . . . . . .                                     -130,872 6             Income recorded on books this year not included
  2       Income included on Schedule K, lines 1, 2, 3c,                                                                   on Schedule K, lines 1 through 11 (itemize):
          5, 6a, 7, 8, 9a, 10, and 11, not recorded on                                                                   a Tax-exempt interest $ . . . . . . . . . . . . . . . . . . . . . . . . . . .
          books this year
          (itemize): . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                    ...................................................
          ............................................                                                                        ...................................................
  3       Guaranteed payments (other than health insurance) . . . .                                                  7       Deductions included on Schedule K, lines 1 through 13d,
  4     Expenses recorded on books this year not                                                                             and 16p, not charged against book income this year (itemize):
        included on Schedule K, lines 1 through
        13d, and 16p (itemize):                                                                                          a Depreciation                 $ ..................................
      a Depreciation    $ ...........................                                                                         ...................................................
      b Travel and
        entertainment   $ ...........................                                                                         ...................................................

          ............................................                                                               8       Add lines 6 and 7 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
          ............................................                                                               9       Income (loss) (Analysis of Net Income
  5       Add lines 1 through 4 . . . . . . . . . . . . . . . . . . . .                             -130,872                 (Loss), line 1). Subtract line 8 from line 5 . . . . . . . .                                        -130,872
    Schedule M-2                                   Analysis of Partners' Capital Accounts
  1       Balance at beginning of year . . . . . . . . . . . . .                                   1,689,439 6               Distributions: a Cash . . . . . . . . . . . . . . . . . . . . . . . . . . .
  2       Capital contributed: a Cash . . . . . . . . . . .                                                                                 b Property . . . . . . . . . . . . . . . . . . . . . . .
                               b Property . . . . . . . .
  3       Net income (loss) per books . . . . . . . . . . . . .                                     -130,872 7                Other decreases
                                                                                                                              (itemize): . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
  4       Other increases
          (itemize): . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                  ...................................................
          ............................................
                                                                                                                     8       Add lines 6 and 7 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
  5       Add lines 1 through 4 . . . . . . . . . . . . . . . . . . . .                             1,558,567        9       Balance at end of year. Subtract line 8 from line 5                                     1,558,567
 DAA                          20-21214-dob                                     Doc 1             Filed 07/31/20          Entered 07/31/20 21:56:20                                                        Page 20 of 47Form 1065 (2019)
BOY006 04/15/2020 3:02 PM



 Form   1125-A                                                                                                                 Cost of Goods Sold
 (Rev. November 2018)                                                                                                                                                                                                                                                OMB No. 1545-0123
 Department of the Treasury
                                                                                                    u Attach to Form 1120, 1120-C, 1120-F, 1120S, or 1065.
 Internal Revenue Service                                                                      u Go to www.irs.gov/Form1125A for the latest information.
 Name                                                                                                                                                                                                                                    Employer identification number
 Boyce Hydro, LLC                                                                                                                                                                                                                        XX-XXXXXXX
    1       Inventory at beginning of year . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                       1
    2       Purchases . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .    2                        4,678
    3       Cost of labor . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .    3
    4       Additional section 263A costs (attach schedule) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                            4
    5       Other costs (attach schedule) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                        5
    6       Total. Add lines 1 through 5 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                     6                        4,678
    7       Inventory at end of year . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                 7
    8       Cost of goods sold. Subtract line 7 from line 6. Enter here and on Form 1120, page 1, line 2 or the
            appropriate line of your tax return. See instructions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                            8                        4,678
    9a      Check all methods used for valuing closing inventory:
              (i)     Cost
             (ii)     Lower of cost or market
            (iii)     Other (Specify method used and attach explanation.) u . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
        b   Check if there was a writedown of subnormal goods . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                u
        c   Check if the LIFO inventory method was adopted this tax year for any goods (if checked, attach Form 970) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                                             u
        d   If the LIFO inventory method was used for this tax year, enter amount of closing inventory computed
            under LIFO . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .    9d
        e   If property is produced or acquired for resale, do the rules of section 263A apply to the entity? See instructions . . . . . . . . . . . . . . . .                                                                                                        Yes            No
        f   Was there any change in determining quantities, cost, or valuations between opening and closing inventory? If "Yes,"
            attach explanation . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .      Yes            No

 For Paperwork Reduction Act Notice, see instructions.                                                                                                                                                                                                       Form   1125-A (Rev. 11-2018)




 DAA                      20-21214-dob                                      Doc 1                    Filed 07/31/20                                    Entered 07/31/20 21:56:20                                                              Page 21 of 47
BOY006 04/15/2020 3:02 PM
       Partner# 1                                                                                                                                                                                                                           651119
                                                                                                                                                          Final K-1                          Amended K-1                               OMB No. 1545-0123
Schedule K-1
(Form 1065)
                                                                                                            2019                               Part III                 Partner's Share of Current Year Income,
Department of the Treasury
                                                                                                                                                                        Deductions, Credits, and Other Items
Internal Revenue Service                                                                         For calendar year 2019, or tax year       1                Ordinary business income (loss)                15      Credits

                     beginning                                                           ending                                                                          -30,298
                                                                                                                                           2                Net rental real estate income (loss)
Partner's Share of Income, Deductions,
Credits, etc.           u See back of form and separate instructions.
                                                                                                                                           3                Other net rental income (loss)                 16      Foreign transactions
       Part I                 Information About the Partnership
  A    Partnership's employer identification number
                                                                                                                                        4a                  Guaranteed payments for services
       XX-XXXXXXX
  B    Partnership's name, address, city, state, and ZIP code                                                                          4b                   Guaranteed payments for capital
 Boyce Hydro, LLC
                                                                                                                                        4c                  Total guaranteed payments
 6000 South M30, P.O. Box 15
 Edenville            MI 48620
                                                                                                                                           5                Interest income
  C    IRS Center where partnership filed return                        u                                                                                                                  1
        e-file                                                                                                                         6a                   Ordinary dividends

  D              Check if this is a publicly traded partnership (PTP)
                                                                                                                                       6b                   Qualified dividends
       Part II                Information About the Partner                                                                                                                                                17      Alternative minimum tax (AMT) items
  E    Partner's SSN or TIN (Do not use TIN of a disregarded entity. See instr.)
                                                                                                                                       6c                   Dividend equivalents                           A                              -83
        XX-XXXXXXX
  F    Name, address, city, state, and ZIP code for partner entered in E. See instructions.                                                7                Royalties
 William D Boyce Trust Account 3650
                                                                                                                                           8                Net short-term capital gain (loss)
 10120 W. Flamingo Rd. Ste. 4 #192                                                                                                                                                                         18      Tax-exempt income and
                                                                                                                                                                                                                   nondeductible expenses
 Las Vegas            NV 89147                                                                                                         9a                   Net long-term capital gain (loss)



  G              General partner or LLC
                 member-manager
                                                                                    X Limited
                                                                                      member
                                                                                              partner or other LLC                     9b                   Collectibles (28%) gain (loss)

  H1    X        Domestic partner                                                           Foreign partner
                                                                                                                                       9c                   Unrecaptured section 1250 gain
  H2             If the partner is a disregarded entity (DE), enter the partner’s:

        TIN                                                                                                                            10                   Net section 1231 gain (loss)
                                                                                                                                                                                                           19      Distributions
        Name
                                                                                                                                       11                   Other income (loss)
  I1   What type of entity is this partner?                        Trust
  I2   If this partner is a retirement plan (IRA/SEP/Keogh/etc.), check here
  J    Partner's
       .         share of profit, loss, and capital (see instructions):                                                                                                                                    20      Other information
                             Beginning                                                                 Ending
                                                                                                                                       12                   Section 179 deduction
       Profit                         23.150000 %                                                     23.150000 %
       Loss                           23.150000 %                                                     23.150000 %                                                                                          A                                    1
                                                                                                                                       13                   Other deductions
       Capital                        23.150000 %                                                     23.150000 %
       Check if decrease is due to sale or exchange of partnership interest . . . . . . . . . . . . . . . . .
                                                                                                                                                                                                           Z*                                       STMT
  K    Partner's share of liabilities:                        Beginning                                Ending
       Nonrecourse . . . . . $                                                              $
                                                                                                                                                                                                       AH*                                          STMT
       Qualified nonrecourse
       financing           $                                                                $

       Recourse . . . . . . . . $                                26,239 $                                        53,777                14                   Self-employment earnings (loss)
                Check this box if Item K includes liability amounts from lower tier partnerships.
  L    STMT                                    Partner's Capital Account Analysis

       Beginning capital account . . . . . . . . . . . . . . . . . . . . . . $                                391,104
       Capital contributed during the year . . . . . . . . . . . . . . . . . $                                                         21                       More than one activity for at-risk purposes*

       Current year net income (loss) . . . . . . . . . . . . . . . . . . . . $                               -30,297                  22                       More than one activity for passive activity purposes*

       Other increase (decrease) (attach explanation) . . . . . . . $                                                                        *See attached statement for additional information.
       Withdrawals & distributions . . . . . . . . . . . . . . . . . . . . . . . $ (                                              )
                                                                                                                                       For IRS Use Only




       Ending capital account . . . . . . . . . . . . . . . . . . . . . . . . . $                             360,807
  M    Did the partner contribute property with a built-in gain or loss?

                 Yes                    X No                If "Yes," attach statement. See instructions.
  N                    Partner's Share of Net Unrecognized Section 704(c) Gain or (Loss)
       Beginning . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .$
       Ending . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .$

                             20-21214-dob
For Paperwork Reduction Act Notice, see Instructions for Form 1065.
DAA
                                                                              Doc 1                  Filed 07/31/20      Entered 07/31/20 21:56:20
                                                                                                                 www.irs.gov/Form1065                                                                           PageSchedule
                                                                                                                                                                                                                      22 ofK-1
                                                                                                                                                                                                                             47(Form 1065) 2019
BOY006 04/15/2020 3:02 PM
       Partner# 2                                                                                                                                                                                                                           651119
                                                                                                                                                          Final K-1                          Amended K-1                               OMB No. 1545-0123
Schedule K-1
(Form 1065)
                                                                                                            2019                               Part III                 Partner's Share of Current Year Income,
Department of the Treasury
                                                                                                                                                                        Deductions, Credits, and Other Items
Internal Revenue Service                                                                         For calendar year 2019, or tax year       1                Ordinary business income (loss)                15      Credits

                     beginning                                                           ending                                                                          -60,595
                                                                                                                                           2                Net rental real estate income (loss)
Partner's Share of Income, Deductions,
Credits, etc.           u See back of form and separate instructions.
                                                                                                                                           3                Other net rental income (loss)                 16      Foreign transactions
       Part I                 Information About the Partnership
  A    Partnership's employer identification number
                                                                                                                                        4a                  Guaranteed payments for services
       XX-XXXXXXX
  B    Partnership's name, address, city, state, and ZIP code                                                                          4b                   Guaranteed payments for capital
 Boyce Hydro, LLC
                                                                                                                                        4c                  Total guaranteed payments
 6000 South M30, P.O. Box 15
 Edenville            MI 48620
                                                                                                                                           5                Interest income
  C    IRS Center where partnership filed return                        u                                                                                                                  2
        e-file                                                                                                                         6a                   Ordinary dividends

  D              Check if this is a publicly traded partnership (PTP)
                                                                                                                                       6b                   Qualified dividends
       Part II                Information About the Partner                                                                                                                                                17      Alternative minimum tax (AMT) items
  E    Partner's SSN or TIN (Do not use TIN of a disregarded entity. See instr.)
                                                                                                                                       6c                   Dividend equivalents                           A                              -165
        XX-XXXXXXX
  F    Name, address, city, state, and ZIP code for partner entered in E. See instructions.                                                7                Royalties
 William D Boyce Trust Account 3649
                                                                                                                                           8                Net short-term capital gain (loss)
 10120 W. Flamingo Rd. Ste. 4 #192                                                                                                                                                                         18      Tax-exempt income and
                                                                                                                                                                                                                   nondeductible expenses
 Las Vegas            NV 89147                                                                                                         9a                   Net long-term capital gain (loss)



  G              General partner or LLC
                 member-manager
                                                                                    X Limited
                                                                                      member
                                                                                              partner or other LLC                     9b                   Collectibles (28%) gain (loss)

  H1    X        Domestic partner                                                           Foreign partner
                                                                                                                                       9c                   Unrecaptured section 1250 gain
  H2             If the partner is a disregarded entity (DE), enter the partner’s:

        TIN                                                                                                                            10                   Net section 1231 gain (loss)
                                                                                                                                                                                                           19      Distributions
        Name
                                                                                                                                       11                   Other income (loss)
  I1   What type of entity is this partner?                        Trust
  I2   If this partner is a retirement plan (IRA/SEP/Keogh/etc.), check here
  J    Partner's
       .         share of profit, loss, and capital (see instructions):                                                                                                                                    20      Other information
                             Beginning                                                                 Ending
                                                                                                                                       12                   Section 179 deduction
       Profit                         46.300000 %                                                     46.300000 %
       Loss                           46.300000 %                                                     46.300000 %                                                                                          A                                    2
                                                                                                                                       13                   Other deductions
       Capital                        46.300000 %                                                     46.300000 %
       Check if decrease is due to sale or exchange of partnership interest . . . . . . . . . . . . . . . . .
                                                                                                                                                                                                           Z*                                       STMT
  K    Partner's share of liabilities:                        Beginning                                Ending
       Nonrecourse . . . . . $                                                              $
                                                                                                                                                                                                       AH*                                          STMT
       Qualified nonrecourse
       financing           $                                                                $

       Recourse . . . . . . . . $                                52,478 $                                     107,555                  14                   Self-employment earnings (loss)
                Check this box if Item K includes liability amounts from lower tier partnerships.
  L    STMT                                    Partner's Capital Account Analysis

       Beginning capital account . . . . . . . . . . . . . . . . . . . . . . $                                782,212
       Capital contributed during the year . . . . . . . . . . . . . . . . . $                                                         21                       More than one activity for at-risk purposes*

       Current year net income (loss) . . . . . . . . . . . . . . . . . . . . $                               -60,593                  22                       More than one activity for passive activity purposes*

       Other increase (decrease) (attach explanation) . . . . . . . $                                                                        *See attached statement for additional information.
       Withdrawals & distributions . . . . . . . . . . . . . . . . . . . . . . . $ (                                              )
                                                                                                                                       For IRS Use Only




       Ending capital account . . . . . . . . . . . . . . . . . . . . . . . . . $                             721,619
  M    Did the partner contribute property with a built-in gain or loss?

                 Yes                    X No                If "Yes," attach statement. See instructions.
  N                    Partner's Share of Net Unrecognized Section 704(c) Gain or (Loss)
       Beginning . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .$
       Ending . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .$

                             20-21214-dob
For Paperwork Reduction Act Notice, see Instructions for Form 1065.
DAA
                                                                              Doc 1                  Filed 07/31/20      Entered 07/31/20 21:56:20
                                                                                                                 www.irs.gov/Form1065                                                                           PageSchedule
                                                                                                                                                                                                                      23 ofK-1
                                                                                                                                                                                                                             47(Form 1065) 2019
BOY006 04/15/2020 3:02 PM
       Partner# 3                                                                                                                                                                                                                           651119
                                                                                                                                                          Final K-1                          Amended K-1                               OMB No. 1545-0123
Schedule K-1
(Form 1065)
                                                                                                            2019                               Part III                 Partner's Share of Current Year Income,
Department of the Treasury
                                                                                                                                                                        Deductions, Credits, and Other Items
Internal Revenue Service                                                                         For calendar year 2019, or tax year       1                Ordinary business income (loss)                15      Credits

                     beginning                                                           ending                                                                          -39,983
                                                                                                                                           2                Net rental real estate income (loss)
Partner's Share of Income, Deductions,
Credits, etc.           u See back of form and separate instructions.
                                                                                                                                           3                Other net rental income (loss)                 16      Foreign transactions
       Part I                 Information About the Partnership
  A    Partnership's employer identification number
                                                                                                                                        4a                  Guaranteed payments for services
       XX-XXXXXXX
  B    Partnership's name, address, city, state, and ZIP code                                                                          4b                   Guaranteed payments for capital
 Boyce Hydro, LLC
                                                                                                                                        4c                  Total guaranteed payments
 6000 South M30, P.O. Box 15
 Edenville            MI 48620
                                                                                                                                           5                Interest income
  C    IRS Center where partnership filed return                        u                                                                                                                  1
        e-file                                                                                                                         6a                   Ordinary dividends

  D              Check if this is a publicly traded partnership (PTP)
                                                                                                                                       6b                   Qualified dividends
       Part II                Information About the Partner                                                                                                                                                17      Alternative minimum tax (AMT) items
  E    Partner's SSN or TIN (Do not use TIN of a disregarded entity. See instr.)
                                                                                                                                       6c                   Dividend equivalents                           A                              -109
        XX-XXXXXXX
  F    Name, address, city, state, and ZIP code for partner entered in E. See instructions.                                                7                Royalties
 William D Boyce Trust Account 2350
                                                                                                                                           8                Net short-term capital gain (loss)
 10120 W Flamingo Rd., Ste. 4 #192                                                                                                                                                                         18      Tax-exempt income and
                                                                                                                                                                                                                   nondeductible expenses
 Las Vegas            NV 89147                                                                                                         9a                   Net long-term capital gain (loss)



  G              General partner or LLC
                 member-manager
                                                                                    X Limited
                                                                                      member
                                                                                              partner or other LLC                     9b                   Collectibles (28%) gain (loss)

  H1    X        Domestic partner                                                           Foreign partner
                                                                                                                                       9c                   Unrecaptured section 1250 gain
  H2             If the partner is a disregarded entity (DE), enter the partner’s:

        TIN                                                                                                                            10                   Net section 1231 gain (loss)
                                                                                                                                                                                                           19      Distributions
        Name
                                                                                                                                       11                   Other income (loss)
  I1   What type of entity is this partner?                        Trust
  I2   If this partner is a retirement plan (IRA/SEP/Keogh/etc.), check here
  J    Partner's
       .         share of profit, loss, and capital (see instructions):                                                                                                                                    20      Other information
                             Beginning                                                                 Ending
                                                                                                                                       12                   Section 179 deduction
       Profit                         30.550000 %                                                     30.550000 %
       Loss                           30.550000 %                                                     30.550000 %                                                                                          A                                    1
                                                                                                                                       13                   Other deductions
       Capital                        30.550000 %                                                     30.550000 %
       Check if decrease is due to sale or exchange of partnership interest . . . . . . . . . . . . . . . . .
                                                                                                                                                                                                           Z*                                       STMT
  K    Partner's share of liabilities:                        Beginning                                Ending
       Nonrecourse . . . . . $                                                              $
                                                                                                                                                                                                       AH*                                          STMT
       Qualified nonrecourse
       financing           $                                                                $

       Recourse . . . . . . . . $                                34,626 $                                        70,968                14                   Self-employment earnings (loss)
                Check this box if Item K includes liability amounts from lower tier partnerships.
  L    STMT                                    Partner's Capital Account Analysis

       Beginning capital account . . . . . . . . . . . . . . . . . . . . . . $                                516,123
       Capital contributed during the year . . . . . . . . . . . . . . . . . $                                                         21                       More than one activity for at-risk purposes*

       Current year net income (loss) . . . . . . . . . . . . . . . . . . . . $                               -39,982                  22                       More than one activity for passive activity purposes*

       Other increase (decrease) (attach explanation) . . . . . . . $                                                                        *See attached statement for additional information.
       Withdrawals & distributions . . . . . . . . . . . . . . . . . . . . . . . $ (                                              )
                                                                                                                                       For IRS Use Only




       Ending capital account . . . . . . . . . . . . . . . . . . . . . . . . . $                             476,141
  M    Did the partner contribute property with a built-in gain or loss?

                 Yes                    X No                If "Yes," attach statement. See instructions.
  N                    Partner's Share of Net Unrecognized Section 704(c) Gain or (Loss)
       Beginning . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .$
       Ending . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .$

                             20-21214-dob
For Paperwork Reduction Act Notice, see Instructions for Form 1065.
DAA
                                                                              Doc 1                  Filed 07/31/20      Entered 07/31/20 21:56:20
                                                                                                                 www.irs.gov/Form1065                                                                           PageSchedule
                                                                                                                                                                                                                      24 ofK-1
                                                                                                                                                                                                                             47(Form 1065) 2019
BOY006 04/15/2020 3:02 PM



                                                                                                      Depreciation and Amortization                                                                                                     OMB No. 1545-0172
 Form       4562                                                                                    (Including Information on Listed Property)
 Department of the Treasury
                                                                                                             u Attach to your tax return.                                                                                                    2019
                                                                                                                                                                                                                                         Attachment
 Internal Revenue Service                  (99)                           u Go to www.irs.gov/Form4562 for instructions and the latest information.                                                                                      Sequence No.      179
 Name(s) shown on return                                                                                                                                                                                           Identifying number
      Boyce Hydro, LLC                                                                                                                                                                                             XX-XXXXXXX
 Business or activity to which this form relates
      Form 1065, Page 1
    Part I                  Election To Expense Certain Property Under Section 179
                            Note: If you have any listed property, complete Part V before you complete Part I.
  1        Maximum amount (see instructions) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .          1         1,020,000
  2        Total cost of section 179 property placed in service (see instructions) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                        2            41,198
  3        Threshold cost of section 179 property before reduction in limitation (see instructions) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                           3         2,550,000
  4        Reduction in limitation. Subtract line 3 from line 2. If zero or less, enter -0- . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                           4                 0
  5        Dollar limitation for tax year. Subtract line 4 from line 1. If zero or less, enter -0-. If married filing separately, see instructions . . . . . . . . . . .                                                        5         1,020,000
  6                                                 (a) Description of property                                                                 (b) Cost (business use only)                           (c) Elected cost




  7    Listed property. Enter the amount from line 29 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .  7
  8    Total elected cost of section 179 property. Add amounts in column (c), lines 6 and 7 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                  8
  9    Tentative deduction. Enter the smaller of line 5 or line 8 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .  9                                                   0
 10    Carryover of disallowed deduction from line 13 of your 2018 Form 4562 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                      10                                              35,975
 11    Business income limitation. Enter the smaller of business income (not less than zero) or line 5. See instructions . . . . . .                                                              11                                                   0
 12    Section 179 expense deduction. Add lines 9 and 10, but don't enter more than line 11 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                     12                                                   0
 13    Carryover of disallowed deduction to 2020. Add lines 9 and 10, less line 12 . . . . . . . . . . . . .                                        13                                  35,975
 Note: Don't use Part II or Part III below for listed property. Instead, use Part V.
    Part II                 Special Depreciation Allowance and Other Depreciation (Don’t include listed property. See instructions.)
 14        Special depreciation allowance for qualified property (other than listed property) placed in service
           during the tax year. See instructions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .   14                   41,198
 15        Property subject to section 168(f)(1) election . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .            15
 16        Other depreciation (including ACRS) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .     16
    Part III                MACRS Depreciation (Don’t include listed property. See instructions.)
                                                                                                                                  Section A
 17        MACRS deductions for assets placed in service in tax years beginning before 2019 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                          17                   20,020
 18        If you are electing to group any assets placed in service during the tax year into one or more general asset accounts, check here . . . . . . . . . . . .                                           u
                                              Section B—Assets Placed in Service During 2019 Tax Year Using the General Depreciation System
                                                                            (b) Month and year                   (c) Basis for depreciation                 (d) Recovery
                (a) Classification of property                                   placed in                       (business/investment use                                          (e) Convention                  (f) Method        (g) Depreciation deduction
                                                                                  service                          only–see instructions)                       period

 19a  3-year property
   b 5-year property
   c  7-year property
   d 10-year property
   e 15-year property
   f 20-year property
   g 25-year property                                                                                          S/L                                            25 yrs.
      h Residential rental                                                                     MM              S/L                                           27.5 yrs.
        property                                                                               MM              S/L                                           27.5 yrs.
   i Nonresidential real                                                                       MM              S/L                                            39 yrs.
     property                                                                                  MM              S/L
                       Section C—Assets Placed in Service During 2019 Tax Year Using the Alternative Depreciation System
 20a Class life                                                                                                S/L
   b 12-year                                                                    12 yrs.                        S/L
   c 30-year                                                                    30 yrs.        MM              S/L
   d 40-year                                                                    40 yrs.        MM              S/L
    Part IV                 Summary (See instructions.)
 21   Listed property. Enter amount from line 28 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                  21                   6,208
 22   Total. Add amounts from line 12, lines 14 through 17, lines 19 and 20 in column (g), and line 21. Enter
      here and on the appropriate lines of your return. Partnerships and S corporations—see instructions . . . . . . . . . . . . . . . . . . .                                                                                  22                67,426
 23   For assets shown above and placed in service during the current year, enter the
      portion of the basis attributable to section 263A costs . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                     23
 For Paperwork Reduction Act Notice, see separate instructions.                                                                                                                                                                            Form 4562 (2019)
 DAA                       20-21214-dob                                Doc 1                 Filed 07/31/20                               Entered 07/31/20 21:56:20                                                    Page 25 of 47
BOY006 04/15/2020 3:02 PM
    Boyce Hydro, LLC                                                                                                                               XX-XXXXXXX
 Form 4562 (2019)                                                                                                                                                                                                                                                                               Page 2
   Part V                    Listed Property (Include automobiles, certain other vehicles, certain aircraft, and property used for
                             entertainment, recreation, or amusement.)
                             Note: For any vehicle for which you are using the standard mileage rate or deducting lease expense, complete only 24a,
                             24b, columns (a) through (c) of Section A, all of Section B, and Section C if applicable.
                                   Section A—Depreciation and Other Information (Caution: See the instructions for limits for passenger automobiles.)
 24a      Do you have evidence to support the business/investment use claimed?                                                                 X Yes                     No            24b         If "Yes," is the evidence written?                                           X Yes              No
          (a)                          (b)                             (c)                                      (d)                                    (e)                               (f)                     (g)                                     (h)                              (i)
                                                                    Business/
   Type of property               Date placed                    investment use                     Cost or other basis                      Basis for depreciation                   Recovery                 Method/                            Depreciation                  Elected section 179
  (list vehicles first)            in service                      percentage                                                                (business/investment                      period                 Convention                           deduction                            cost
                                                                                                                                                   use only)

 25       Special depreciation allowance for qualified listed property placed in service during
          the tax year and used more than 50% in a qualified business use. See instructions . . . . . . . . . . . . . . . . . . . . . . .                                                                                     25
 26       Property used more than 50% in a qualified business use:
    See Statement 5
                                                                                        %                  138,937                                        87,699                                                                                             6,208

                                                   %
 27       Property used 50% or less in a qualified business use:


                                                                                        %                                                                                                                   S/L-


                                                   %                                                                                              S/L-
 28       Add amounts in column (h), lines 25 through 27. Enter here and on line 21, page 1 . . . . . . . . . . . . . . . . . . . . . . .                             28                               6,208
 29       Add amounts in column (i), line 26. Enter here and on line 7, page 1 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 29
                                                          Section B—Information on Use of Vehicles
 Complete this section for vehicles used by a sole proprietor, partner, or other “more than 5% owner,” or related person. If you provided vehicles
 to your employees, first answer the questions in Section C to see if you meet an exception to completing this section for those vehicles.
                                                                                                                                  (a)                            (b)                             (c)                            (d)                             (e)                       (f)
                                                                                                                             Vehicle 1                      Vehicle 2                       Vehicle 3                      Vehicle 4                       Vehicle 5                   Vehicle 6
 30       Total business/investment miles driven during
          the year (don't include commuting miles) . . . . . . . . . . .
 31       Total commuting miles driven during the year . . . . . . .
 32       Total other personal (noncommuting)
          miles driven . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 33       Total miles driven during the year. Add
          lines 30 through 32 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 34       Was the vehicle available for personal                                                                        Yes              No            Yes               No            Yes              No            Yes              No             Yes              No        Yes             No
          use during off-duty hours? . . . . . . . . . . . . . . . . . . . . . . . . . . .
 35       Was the vehicle used primarily by a more
          than 5% owner or related person? . . . . . . . . . . . . . . . . . .
 36       Is another vehicle available for personal use? . . . . . .
                                Section C—Questions for Employers Who Provide Vehicles for Use by Their Employees
 Answer these questions to determine if you meet an exception to completing Section B for vehicles used by employees who aren't
 more than 5% owners or related persons. See instructions.
 37       Do you maintain a written policy statement that prohibits all personal use of vehicles, including commuting, by                                                                                                                                                        Yes             No
          your employees? . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .     X
 38       Do you maintain a written policy statement that prohibits personal use of vehicles, except commuting, by your
          employees? See the instructions for vehicles used by corporate officers, directors, or 1% or more owners . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                                                                     X
 39       Do you treat all use of vehicles by employees as personal use? . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                       X
 40       Do you provide more than five vehicles to your employees, obtain information from your employees about the
          use of the vehicles, and retain the information received? . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                            X
 41       Do you meet the requirements concerning qualified automobile demonstration use? See instructions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                                                                   X
          Note: If your answer to 37, 38, 39, 40, or 41 is “Yes,” don’t complete Section B for the covered vehicles.
   Part VI                   Amortization
                                                                                                                                                                                                                                          (e)
                                           (a)                                                              (b)                                                    (c)                                        (d)                                                                (f)
                                                                                                                                                                                                                                      Amortization
                                                                                                     Date amortization
                               Description of costs                                                                                                    Amortizable amount                              Code section                    period or                      Amortization for this year
                                                                                                          begins
                                                                                                                                                                                                                                      percentage

 42       Amortization of costs that begins during your 2019 tax year (see instructions):



 43       Amortization of costs that began before your 2019 tax year . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                        43                           26,667
 44       Total. Add amounts in column (f). See the instructions for where to report . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                      44                           26,667
 DAA                        20-21214-dob                                    Doc 1                    Filed 07/31/20                                  Entered 07/31/20 21:56:20                                                             Page 26 of 47
                                                                                                                                                                                                                                                      Form 4562 (2019)
BOY006 04/15/2020 3:02 PM




 Form        4797                                                                                                Sales of Business Property
                                                                                    (Also Involuntary Conversions and Recapture Amounts
                                                                                                                                                                                                                                                     OMB No. 1545-0184


                                                                                              Under Sections 179 and 280F(b)(2))                                                                                                                         2019
 Department of the Treasury
                                                                                                                              u Attach to your tax return.                                                                                          Attachment
 Internal Revenue Service                                                     u Go to www.irs.gov/Form4797 for instructions and the latest information.                                                                                             Sequence No.           27
 Name(s) shown on return                                                                                                                                                                                                          Identifying number

      Boyce Hydro, LLC                                                                                                                                                                                                           XX-XXXXXXX
  1       Enter the gross proceeds from sales or exchanges reported to you for 2019 on Form(s) 1099-B or 1099-S (or
          substitute statement) that you are including on line 2, 10, or 20. See instructions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                 1
    Part I                   Sales or Exchanges of Property Used in a Trade or Business and Involuntary Conversions From Other
                             Than Casualty or Theft—Most Property Held More Than 1 Year (see instructions)
                                                                                                                                                               (e) Depreciation                                   (f) Cost or other                (g) Gain or (loss)
      (a) Description          (b) Date acquired                     (c) Date sold                                (d) Gross                                         allowed or                                        basis, plus
  2      of property               (mo., day, yr.)                    (mo., day, yr.)                              sales price                                   allowable since                                 improvements and
                                                                                                                                                                                                                                                   Subtract (f) from the
                                                                                                                                                                                                                                                    sum of (d) and (e)
                                                                                                                                                                     acquisition                                  expense of sale




  3       Gain, if any, from Form 4684, line 39 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                     3
  4       Section 1231 gain from installment sales from Form 6252, line 26 or 37 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                            4
  5       Section 1231 gain or (loss) from like-kind exchanges from Form 8824 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                           5
  6       Gain, if any, from line 32, from other than casualty or theft . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                         6
  7       Combine lines 2 through 6. Enter the gain or (loss) here and on the appropriate line as follows . . . . . . . . . . . . . . . . . . . . . . . .                                                                                   7                                   0
          Partnerships and S corporations. Report the gain or (loss) following the instructions for Form 1065, Schedule K,
          line 10, or Form 1120-S, Schedule K, line 9. Skip lines 8, 9, 11, and 12 below.
          Individuals, partners, S corporation shareholders, and all others. If line 7 is zero or a loss, enter the amount from
          line 7 on line 11 below and skip lines 8 and 9. If line 7 is a gain and you didn't have any prior year section 1231
          losses, or they were recaptured in an earlier year, enter the gain from line 7 as a long-term capital gain on the
          Schedule D filed with your return and skip lines 8, 9, 11, and 12 below.
  8       Nonrecaptured net section 1231 losses from prior years. See instructions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                              8
  9       Subtract line 8 from line 7. If zero or less, enter -0-. If line 9 is zero, enter the gain from line 7 on line 12 below. If line
          9 is more than zero, enter the amount from line 8 on line 12 below and enter the gain from line 9 as a long-term
          capital gain on the Schedule D filed with your return. See instructions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                       9
    Part II                  Ordinary Gains and Losses (see instructions)
 10       Ordinary gains and losses not included on lines 11 through 16 (include property held 1 year or less):




 11       Loss, if any, from line 7 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .   11 (                                )
 12       Gain, if any, from line 7 or amount from line 8, if applicable . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                          12
 13       Gain, if any, from line 31 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .      13                   3,200
 14       Net gain or (loss) from Form 4684, lines 31 and 38a . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                     14
 15       Ordinary gain from installment sales from Form 6252, line 25 or 36 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                      15
 16       Ordinary gain or (loss) from like-kind exchanges from Form 8824 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                     16
 17       Combine lines 10 through 16 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .             17                   3,200
 18       For all except individual returns, enter the amount from line 17 on the appropriate line of your return and skip lines a
          and b below. For individual returns, complete lines a and b below.
    a     If the loss on line 11 includes a loss from Form 4684, line 35, column (b)(ii), enter that part of the loss here. Enter the loss
      from income-producing property on Schedule A (Form 1040 or Form 1040-SR), line 16. (Do not include any loss on
      property used as an employee.) Identify as from “Form 4797, line 18a.” See instructions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                       18a
   b Redetermine the gain or (loss) on line 17 excluding the loss, if any, on line 18a. Enter here and on Schedule 1
      (Form 1040 or Form 1040-SR), Part I, line 4 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                 18b
 For Paperwork Reduction Act Notice, see separate instructions.                                                                                                                                                                                          Form   4797 (2019)




 DAA                       20-21214-dob                                    Doc 1                   Filed 07/31/20                                  Entered 07/31/20 21:56:20                                                          Page 27 of 47
BOY006 04/15/2020 3:02 PM
                                                                                                                                                                 Page 1 of 1
 Form 4797 (2019)                     Boyce Hydro, LLC                                                                                                               XX-XXXXXXX                                                                                       Page 2
   Part III                  Gain From Disposition of Property Under Sections 1245, 1250, 1252, 1254, and 1255
                             (see instructions)
                                                                                                                                                                                                                               (b)       Date acquired      (c) Date sold
 19        (a) Description of section 1245, 1250, 1252, 1254, or 1255 property:                                                                                                                                                    (mo., day, yr.)          (mo., day, yr.)

       A       Chevy S10 2004                                                                                                                                                                                                 11/09/10                   11/25/19
       B       2002 Chevy S10                                                                                                                                                                                                 07/17/12                   06/04/19
       C
       D
           These columns relate to the properties on lines 19A through 19D. u                                                                           Property A                            Property B                             Property C             Property D
 20        Gross sales price (Note: See line 1 before completing.) . . . . . . .                                                        20                    3,000                                      200
 21        Cost or other basis plus expense of sale . . . . . . . . . . . . . . . . . . . . . . .                                       21                   12,494                                    3,100
 22        Depreciation (or depletion) allowed or allowable . . . . . . . . . . . . . . .                                               22                   12,494                                    3,100
 23        Adjusted basis. Subtract line 22 from line 21 . . . . . . . . . . . . . . . . . . .                                          23                        0                                        0
 24        Total gain. Subtract line 23 from line 20 . . . . . . . . . . . . . . . . . . . . . . . .                                    24                       3,000                                         200
 25        If section 1245 property:
   a       Depreciation allowed or allowable from line 22 . . . . . . . . . . . . . . . . .                                           25a                    12,494                                    3,100
   b       Enter the smaller of line 24 or 25a . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                              25b                     3,000                                      200
 26        If section 1250 property: If straight line depreciation was used,
           enter -0- on line 26g, except for a corporation subject to section 291.
   a       Additional depreciation after 1975. See instructions . . . . . . . . . . .                                                 26a
   b       Applicable percentage multiplied by the smaller of line
           24 or line 26a. See instructions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                           26b
   c       Subtract line 26a from line 24. If residential rental property
           or line 24 isn't more than line 26a, skip lines 26d and 26e . . . . .                                                      26c
   d       Additional depreciation after 1969 and before 1976 . . . . . . . . . . . .                                                 26d
   e       Enter the smaller of line 26c or 26d . . . . . . . . . . . . . . . . . . . . . . . . . . . .                               26e
   f       Section 291 amount (corporations only) . . . . . . . . . . . . . . . . . . . . . . . .                                     26f
   g       Add lines 26b, 26e, and 26f . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                        26g
 27        If section 1252 property: Skip this section if you didn't
           dispose of farmland or if this form is being completed
           for a partnership.
   a       Soil, water, and land clearing expenses . . . . . . . . . . . . . . . . . . . . . . . .                                    27a
   b       Line 27a multiplied by applicable percentage. See instructions                                                             27b
   c       Enter the smaller of line 24 or 27b . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                              27c
 28        If section 1254 property:
   a       Intangible drilling and development costs, expenditures
           for development of mines and other natural deposits,
           mining exploration costs, and depletion. See instructions                                                                  28a
   b       Enter the smaller of line 24 or 28a . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                              28b
 29        If section 1255 property:
   a       Applicable percentage of payments excluded from
           income under section 126. See instructions . . . . . . . . . . . . . . . . . . . .                                         29a
   b       Enter the smaller of line 24 or 29a. See instructions . . . . . . . . . .                                                  29b
 Summary of Part III Gains. Complete property columns A through D through line 29b before going to line 30.

 30        Total gains for all properties. Add property columns A through D, line 24 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                     30                   3,200
 31        Add property columns A through D, lines 25b, 26g, 27c, 28b, and 29b.
           Enter here and on line 13 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .       31                   3,200
 32        Subtract line 31 from line 30. Enter the portion from casualty or theft on Form 4684, line 33. Enter the portion from
           other than casualty or theft on Form 4797, line 6 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                 32                               0
   Part IV                   Recapture Amounts Under Sections 179 and 280F(b)(2) When Business Use Drops to 50% or Less
                             (see instructions)
                                                                                                                                                                                                                 (a) Section                             (b) Section
                                                                                                                                                                                                                     179                                  280F(b)(2)
   33         Section 179 expense deduction or depreciation allowable in prior years . . . . . . . . . . . . . . . . . .                                                                     33
   34         Recomputed depreciation. See instructions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                      34
   35         Recapture amount. Subtract line 34 from line 33. See the instructions for where to report                                                                                      35
                                                                                                                                                                                                                                                           Form   4797 (2019)
 DAA                        20-21214-dob                                   Doc 1                  Filed 07/31/20                                 Entered 07/31/20 21:56:20                                                         Page 28 of 47
BOY006 04/15/2020 3:02 PM



                                                      Section 199A Information Worksheet
      Schedule      K                                                                                                                2019
                                       For calendar year 2019 or tax year beginning         , ending
   Partnership Name                                                                                                Employer Identification Number

   Boyce Hydro, LLC                                                                                                XX-XXXXXXX
                                                                                                                          Aggr.
                                                          Activity Description                Pass-through Entity EIN    Number     SSTB      PTP
   Column A . . . . . . . . . . .   Form 1065, Page 1
   Column B . . . . . . . . . . .
   Column C . . . . . . . . . . .
   Column D . . . . . . . . . . .
   Column E . . . . . . . . . . .



                                               Column A                Column B          Column C            Column D              Column E
   QBI or Qualified PTP items:
    Ordinary business income (loss)             -130,876
    Net rental real estate income (loss)
    Other net rental income (loss)
    Royalties
    Section 1231 gain (loss)
    Other income (loss)
    Section 179 deduction
    Charitable contributions
    Other deductions
   W-2 wages                                     472,115
   Qualified property                          1,416,380

   Other Information:
    QBI alloc to co-op pmts received
    W-2 wages alloc to qualified pmts
    Section 199A(g) deduction

 Section 199A REIT dividends




                                                                                                                       Page 1 of 1
                     20-21214-dob           Doc 1        Filed 07/31/20          Entered 07/31/20 21:56:20       Page 29 of 47
BOY006 04/15/2020 3:02 PM
   Partner# 1
                                               Partner's Section 199A Information Worksheet
     Schedule      K-1                                                                                                                 2019
                                        For calendar year 2019 or tax year beginning        , ending
 Partnership Name                                                                                                    Employer Identification Number
   Boyce Hydro, LLC                                                                                                  XX-XXXXXXX
 Partner's Name                                                                                                      Taxpayer Identification Number
   William D Boyce Trust Account 3650                                                                                 XX-XXXXXXX
                                                Schedule K-1, Box 20, Code Z - Section 199A Information
                                                                                                                               Aggr.
                                                          Activity Description                      Pass-through Entity EIN   Number    SSTB PTP
   Column A . . . . . . . . . . .   Form 1065, Page 1
   Column B . . . . . . . . . . .
   Column C . . . . . . . . . . .
   Column D . . . . . . . . . . .
   Column E . . . . . . . . . . .



                                               Column A                Column B          Column C              Column D              Column E
   QBI or Qualified PTP items:
    Ordinary business income (loss)               -30,298
    Net rental real estate income (loss)
    Other net rental income (loss)
    Royalties
    Section 1231 gain (loss)
    Other income (loss)
    Section 179 deduction
    Charitable contributions
    Other deductions
   W-2 wages                                      109,295
   Qualified property                             327,892

   Other Information:
     QBI alloc to co-op pmts received
     W-2 wages alloc to qualified pmts
     Section 199A(g) deduction

   Section 199A REIT dividends




                                                                                                                          Page 1 of 1
                     20-21214-dob           Doc 1        Filed 07/31/20          Entered 07/31/20 21:56:20          Page 30 of 47
BOY006 04/15/2020 3:02 PM
   Partner# 2
                                               Partner's Section 199A Information Worksheet
     Schedule      K-1                                                                                                                 2019
                                        For calendar year 2019 or tax year beginning        , ending
 Partnership Name                                                                                                    Employer Identification Number
   Boyce Hydro, LLC                                                                                                  XX-XXXXXXX
 Partner's Name                                                                                                      Taxpayer Identification Number
   William D Boyce Trust Account 3649                                                                                 XX-XXXXXXX
                                                Schedule K-1, Box 20, Code Z - Section 199A Information
                                                                                                                               Aggr.
                                                          Activity Description                      Pass-through Entity EIN   Number    SSTB PTP
   Column A . . . . . . . . . . .   Form 1065, Page 1
   Column B . . . . . . . . . . .
   Column C . . . . . . . . . . .
   Column D . . . . . . . . . . .
   Column E . . . . . . . . . . .



                                               Column A                Column B          Column C              Column D              Column E
   QBI or Qualified PTP items:
    Ordinary business income (loss)               -60,595
    Net rental real estate income (loss)
    Other net rental income (loss)
    Royalties
    Section 1231 gain (loss)
    Other income (loss)
    Section 179 deduction
    Charitable contributions
    Other deductions
   W-2 wages                                      218,589
   Qualified property                             655,784

   Other Information:
     QBI alloc to co-op pmts received
     W-2 wages alloc to qualified pmts
     Section 199A(g) deduction

   Section 199A REIT dividends




                                                                                                                          Page 1 of 1
                     20-21214-dob           Doc 1        Filed 07/31/20          Entered 07/31/20 21:56:20          Page 31 of 47
BOY006 04/15/2020 3:02 PM
   Partner# 3
                                               Partner's Section 199A Information Worksheet
     Schedule      K-1                                                                                                                 2019
                                        For calendar year 2019 or tax year beginning        , ending
 Partnership Name                                                                                                    Employer Identification Number
   Boyce Hydro, LLC                                                                                                  XX-XXXXXXX
 Partner's Name                                                                                                      Taxpayer Identification Number
   William D Boyce Trust Account 2350                                                                                 XX-XXXXXXX
                                                Schedule K-1, Box 20, Code Z - Section 199A Information
                                                                                                                               Aggr.
                                                          Activity Description                      Pass-through Entity EIN   Number    SSTB PTP
   Column A . . . . . . . . . . .   Form 1065, Page 1
   Column B . . . . . . . . . . .
   Column C . . . . . . . . . . .
   Column D . . . . . . . . . . .
   Column E . . . . . . . . . . .



                                               Column A                Column B          Column C              Column D              Column E
   QBI or Qualified PTP items:
    Ordinary business income (loss)               -39,983
    Net rental real estate income (loss)
    Other net rental income (loss)
    Royalties
    Section 1231 gain (loss)
    Other income (loss)
    Section 179 deduction
    Charitable contributions
    Other deductions
   W-2 wages                                      144,231
   Qualified property                             432,704

   Other Information:
     QBI alloc to co-op pmts received
     W-2 wages alloc to qualified pmts
     Section 199A(g) deduction

   Section 199A REIT dividends




                                                                                                                          Page 1 of 1
                     20-21214-dob           Doc 1        Filed 07/31/20          Entered 07/31/20 21:56:20          Page 32 of 47
BOY006 Boyce Hydro, LLC                                                         4/15/2020 3:02 PM
XX-XXXXXXX                        Federal Statements
FYE: 12/31/2019


                Statement 1 - Form 1065, Page 1, Line 20 - Other Deductions
          Description                        Amount
Alarm Service                           $          2,474
Automobile Expense                                52,045
Bank Charges                                         945
Dissolved Oxygen Monitoring                        1,912
Dues & Subscriptions                                 332
Equipment Rental                                   3,977
Insurance                                        165,512
Internet Services                                  1,419
Medical Expenses                                     213
Miscellaneous                                      1,332
Office Supplies                                   10,556
Postage                                            2,461
Printing & Reproduction                              241
Professional Fees                                189,531
Pwr Operation Supplies                            18,519
Reimbursed Expenses                               35,709
Telephone                                         12,978
Tools                                              8,362
Travel                                             9,992
Utilities                                          5,043
Amortization                                      26,667
      Total                             $        550,220


         Statement 2 - Form 1065, Schedule K, Line 20c - Other Items and Amounts
                          Description                                         Amount
See attached Section 199A Information Worksheet                        $

            Statement 3 - Form 1065, Schedule L, Line 6 - Other Current Assets

                                            Beginning                End
          Description                        of Year               of Year
Loan to Smallwood                       $         10,000       $       10,250
Loan to Sanford                                                        32,285
N/R - 2004 Chevy                                                        2,874
     Total                              $         10,000       $       45,409


                Statement 4 - Form 1065, Schedule L, Line 13 - Other Assets
                                            Beginning                End
          Description                        of Year               of Year
Boyce Trusts Allocation                 $    1,409,444         $   1,409,444
     Total                              $    1,409,444         $   1,409,444




                                                                                              1-4
       20-21214-dob     Doc 1   Filed 07/31/20    Entered 07/31/20 21:56:20   Page 33 of 47
BOY006 Boyce Hydro, LLC                                                        4/15/2020 3:02 PM
XX-XXXXXXX                        Federal Statements
FYE: 12/31/2019


Form 1065, Page 1
    Statement 5 - Form 4562, Page 2, Line 26 - Property Used More Than 50% in a Qualified
                                          Business

                     Property
                      Type
            Date    Bus. %       Cost        Dep Basis    Per.   Method       Deduct         Sec 179
Chevy S10 2004
         11/09/10 100.00 $        12,494 $       12,494   5.0 200DBMQ $                  $
2002 Chevy S10
          7/17/12 100.00           3,100          1,550   5.0 200DBHY
Military 3/4 Ton Pickup
          6/18/12 100.00           4,307          2,154   5.0 200DBHY
2016 Chevy Silverado
          6/29/16 100.00          50,549         38,989   5.0 200DBHY            2,075
2006 Chevy Silverado
          6/15/16 100.00          10,879         10,879   5.0 200DBHY            1,253
2000 GMC Sonoma Truck
          5/26/17 100.00          15,000         15,000   5.0 200DBHY            2,880
Chevy S10 PUT F198
         11/11/06 100.00           6,633          6,633   5.0 200DBMQ
2016 Chevy Silverado
          6/22/18 100.00          35,975                  5.0 200DBHY
     Total               $       138,937 $       87,699                   $      6,208 $            0




                                                                                                5
        20-21214-dob   Doc 1    Filed 07/31/20   Entered 07/31/20 21:56:20    Page 34 of 47
BOY006 04/15/2020 3:02 PM

               Year Ending: December 31, 2019                                                  XX-XXXXXXX

                                                     Boyce Hydro, LLC
                                                6000 South M30, P.O. Box 15
                                                    Edenville, MI 48620

                            Section 1.263(a)-1(f) De Minimis Safe Harbor Election
               Under Regulation 1.263(a)-1(f), the taxpayer hereby elects to apply the de minimis safe harbor
               election to all qualifying property placed in service during the tax year.




              20-21214-dob       Doc 1     Filed 07/31/20      Entered 07/31/20 21:56:20          Page 35 of 47
BOY006 04/15/2020 3:02 PM



                                                      Schedule K-1 Percentages Summary Worksheet
        Form   1065                                                                                                                                                          2019
                                              For calendar year 2019, or tax year beginning            , and ending
 Partnership Name                                                                                                              Employer Identification Number

    Boyce Hydro, LLC                                                                                                           XX-XXXXXXX
   Partner                                                                        Profit                                Loss                                       Capital
   Number                      Partner Name                          Beginning                Ending        Beginning            Ending                Beginning              Ending
    1             William D Boyce Trust Account 3650                23.150000              23.150000        23.150000          23.150000              23.150000              23.150000
    2             William D Boyce Trust Account 3649                46.300000              46.300000        46.300000          46.300000              46.300000              46.300000
    3             William D Boyce Trust Account 2350                30.550000              30.550000        30.550000          30.550000              30.550000              30.550000




                                  20-21214-dob      Doc 1        Filed 07/31/20            Entered 07/31/20 21:56:20           Page 36 of 47                       Page 1 of 1
BOY006 04/15/2020 3:02 PM



                                                              Reconciliation of Partners' Basis Worksheet
      Form    1065                                                                                                                                                       2019
                                                  For calendar year 2019, or tax year beginning            , and ending
 Partnership Name                                                                                                                    Employer Identification Number

    Boyce Hydro, LLC                                                                                                                 XX-XXXXXXX
       Partner                                                                 Beginning                                   Distribution in          Allowed             Ending
       Number                      Partner Name                                 Basis               Increases             Excess of Basis          Decreases            Basis
        1              William D Boyce Trust Account 3650                        447,619                27,539                           0              30,298           444,860
        2              William D Boyce Trust Account 3649                        895,243                55,079                           0              60,595           889,727
        3              William D Boyce Trust Account 2350                        590,703                36,343                           0              39,983           587,063




                                                      Total this page         1,933,565               118,961                            0             130,876         1,921,650
                                                      Total all pages         1,933,565               118,961                            0             130,876         1,921,650

                                   20-21214-dob         Doc 1           Filed 07/31/20        Entered 07/31/20 21:56:20              Page 37 of 47                    Page 1 of 1
BOY006 Boyce Hydro, LLC                                                         4/15/2020 3:02 PM
XX-XXXXXXX                        Federal Statements
FYE: 12/31/2019


                   Form 1065, Page 1, Line 11 - Repairs and Maintenance
          Description                       Amount
Maintenance                            $          24,903
Repairs                                           61,895
     Total                             $          86,798


                        Form 1065, Page 1, Line 14 - Taxes and Licenses
          Description                       Amount
Other Tax                              $           1,710
Payroll Taxes                                     47,053
Sales Tax                                          2,564
     Total                             $          51,327


                        Form 1065, Schedule K, Line 5 - Interest Income
          Description                       Amount
Interest Income                        $               4
     Total                             $               4


      Form 1065, Schedule L, Line 16 - Mortgage, Notes, Bonds Payable Less Than 1 Yr
                                           Beginning                 End
          Description                       of Year                of Year
Ally Financial                         $          19,746       $       12,071
Chemical Bank 2016 Tk Loan                        19,550                7,388
Chemical Bank 2016 Tk Loan                        16,104                5,011
Credit Card Payable                                  484               38,603
I/C Boyce Hydro Power                                                  22,197
I/C Loan from boyce MI                                                 25,650
I/C Loan Secord HP LLC                            30,956               30,956
I/C WDB 3649                                      26,503               20,306
Clark Hill                                                             68,980
Disputed Invoice                                                        1,138
     Total                             $         113,343       $      232,300




       20-21214-dob     Doc 1   Filed 07/31/20    Entered 07/31/20 21:56:20   Page 38 of 47
BOY006 Boyce Hydro, LLC                                                     4/15/2020 3:02 PM
XX-XXXXXXX                      Federal Statements
FYE: 12/31/2019


                 Form 4562, Page 1, Line 11 - Business Income Limitation
             Description                           Amount
Ordinary Income (Loss)                         $    -130,876
     Total                                     $    -130,876




       20-21214-dob   Doc 1   Filed 07/31/20   Entered 07/31/20 21:56:20   Page 39 of 47
 BOY006 Boyce Hydro, LLC                                                                              04/15/2020 3:01 PM
 XX-XXXXXXX                                  Federal Asset Report
 FYE: 12/31/2019                                 Form 1065, Page 1

                                              Date                Bus Sec       Basis
Asset               Description            In Service   Cost       % 179Bonus for Depr       PerConv Meth    Prior       Current


5-year GDS Property:
 172 Electric Chain Hoist                   9/18/19       2,758            X             0    5 MQ200DB              0      2,758
 173 Turbine Parts                         10/22/19      17,440            X             0    5 MQ200DB              0     17,440
 174 Spider Mower                           6/05/19      21,000            X             0    5 MQ200DB              0     21,000
                                                         41,198                          0                           0     41,198


Prior MACRS:
  15 Bulldozer                              9/18/07      25,000                   25,000      7   HY 200DB    25,000             0
  16 Cargo Trailer                          7/24/07       3,312                    3,312      5   HY 200DB     3,312             0
  18 Dewatering Pump                       10/04/07       4,500                    4,500      5   HY 200DB     4,500             0
  29 HP color laser                         7/21/08         700            X         350      5   MQ200DB        700             0
  31 International dump truck              10/10/08     104,411            X      52,205      5   MQ200DB    104,411             0
  32 Portable generator                    11/12/08       3,950            X       1,975      5   MQ200DB      3,950             0
  33 Pontoon boat                           8/18/08       7,311            X       3,655     10   MQ200DB      7,311             0
  49 Air Compressor                         6/18/09       3,000            X       1,500      7   MQ200DB      3,000             0
  50 JD Tractor                            11/10/09      31,800            X      15,900      7   MQ200DB     31,800             0
  58 Trailer                                3/02/10       1,461            X         730      7   MQ200DB      1,461             0
  63 Fowler Mini Level                     10/08/10       7,452            X           0     15   HY 150DB     7,452             0
  64 HP Design Jet 1055 Plotter             5/19/10       2,500            X       1,250      5   MQ200DB      2,500             0
  66 JD Brushcutter                         7/06/10       4,076            X       2,038      7   MQ200DB      4,076             0
  67 JD Skid Steer Loader                   7/06/10      15,000            X       7,500      7   MQ200DB     15,000             0
  68 Tractor Rake                           8/24/10       1,060            X         530      7   MQ200DB      1,060             0
  69 Leasehold Improvements                 5/21/10         837                      837     39   MM S/L         185            22
  70 Pole Mounted Chainsaw                  7/21/10         620            X         310      7   MQ200DB        620             0
  77 Splitter                               7/06/10       2,879            X       1,439      7   MQ200DB      2,879             0
  93 Wood Chipper                           8/18/11       4,019            X           0      7   MQ200DB      4,019             0
  95 Trailer                                1/06/11      21,250            X           0      5   MQ200DB     21,250             0
  96 Cabinets                               7/16/11         900            X           0      7   MQ200DB        900             0
  97 Pontoon Boat                          11/12/11       1,375            X           0      5   MQ200DB      1,375             0
 101 Bandit Wood Chipper 2                  7/26/12      31,198            X      15,599      7   HY 200DB    30,502           696
 104 Concrete Pumper Truck                  9/24/12      42,500            X      21,250      5   HY 200DB    42,500             0
 105 JD Skid Steer Loader                   5/15/12       4,030            X       2,015      7   HY 200DB     3,940            90
 106 JD Skid Steer Loader 2                 7/27/12      60,675            X      30,337      7   HY 200DB    59,321         1,354
 108 Military Dump Truck                    6/18/12       9,550            X       4,775      5   HY 200DB     9,550             0
 109 Power Axe Shears                       8/18/12       4,200            X       2,100      7   HY 200DB     4,106            94
 110 Rockwell Planer                        7/18/12       1,890            X         945      7   HY 200DB     1,848            42
 111 Sounding Tool                          5/18/12       6,400            X       3,200      7   HY 200DB     6,257           143
 113 Furniture                              1/01/12       1,690            X         845      7   HY 200DB     1,652            38
 114 Auger                                  7/06/10       3,194            X       1,597      7   MQ200DB      3,194             0
 115 Trailer                                9/08/10       4,439            X       2,219      7   MQ200DB      4,439             0
 116 Non-dam property improvements          6/18/13       5,421            X       2,711     15   HY 150DB     3,900           160
 117 Dissolved oxygen monitoring equip      5/18/13      22,068            X      11,034      5   HY 200DB    22,068             0
 118 Crimping Tools & Dies                  8/09/13       8,112            X       4,056      5   HY 200DB     8,112             0
 119 Electric Heater                        2/19/13       1,852            X         926      5   HY 200DB     1,852             0
 120 Spillway Hoists                        1/01/13      13,134                   13,134      5   HY 200DB    13,134             0
 121 Spillway Hoists                        2/14/13       4,846            X       2,423      5   HY 200DB     4,846             0
 122 Filing Cabinet                         2/18/13       1,654            X         827      7   HY 200DB     1,543            74
 123 Leasehold Improvements                 7/01/13     108,081                  108,081     39   MM S/L      15,127         2,771
 124 Wood Chipper                           1/25/13       7,041            X       3,520      5   HY 200DB     7,041             0
 125 1997 Dump Truck                       10/15/13       7,350                    7,350      5   HY 200DB     7,350             0
 126 Generators & Trailer                   3/20/13       8,500            X       4,250      5   HY 200DB     8,500             0
 127 Generator                              5/25/13         612            X         306      5   HY 200DB       612             0
 128 JD Crawler Dozer                      11/01/13      68,000            X      34,000      5   HY 200DB    68,000             0
 129 JD Skidsteer 3                         9/11/13      70,500            X      35,250      5   HY 200DB    70,500             0
 130 JD Skidsteer 2 Cab                     1/16/13         574            X         287      5   HY 200DB       574             0
 131 Komatsu 2011 Excavator                 8/16/13     122,875                  122,875      5   HY 200DB   122,875             0
 132 Komatsu Bulldozer Repair              11/26/13         909            X         454      5   HY 200DB       909             0
 133 Komatsu PC200-7 Excavator             10/01/13      86,045            X      43,022      5   HY 200DB    86,045             0
 134 Military 3/4 ton pickup Repairs        7/18/13       6,243            X       3,122      5   HY 200DB     6,243             0
 135 Military dump truck repairs           10/18/13       5,727            X       2,864      5   HY 200DB     5,727             0
 136 Rotary Brush Mover                     6/23/13       5,395            X       2,697      5   HY 200DB     5,395             0
 137 Volvo Dump Truck                      10/08/13      13,000            X       6,500      5   HY 200DB    13,000             0
 138 JD Skidsteer Repairs                   4/30/13      10,209            X       5,104      5   HY 200DB    10,209             0
 139 Ditching Bucket                       11/03/14       4,634        X   X           0      7   HY 200DB     4,634             0
 140 Jointer                               12/02/14       5,500        X   X           0      7   HY 200DB     5,500             0
 141 Leasehold Improvements                12/15/14     137,480                  137,480     39   MM S/L      14,247         3,526
 142 Paint Booth                            8/14/14       1,940        X   X           0      7   HY 200DB     1,940             0
 143 Concrete Forms                         9/30/14      34,705        X   X           0      7   HY 200DB    34,705             0

             20-21214-dob          Doc 1   Filed 07/31/20         Entered 07/31/20 21:56:20          Page 40 of 47
 BOY006 Boyce Hydro, LLC                                                                                   04/15/2020 3:01 PM
 XX-XXXXXXX                                         Federal Asset Report
 FYE: 12/31/2019                                         Form 1065, Page 1

                                                    Date                  Bus Sec       Basis
Asset                 Description                In Service    Cost        % 179Bonus for Depr PerConv Meth        Prior      Current
 144 Transmission for Dump Tk                      1/18/14        4,719        X  X            0 5 HY 200DB           4,719          0
 145 JD 960R Z Track Mower                         5/20/14       13,981        X  X            0 5 HY 200DB          13,981          0
 146 Komatsu PC138 Excavator                       1/25/14        6,614        X  X            0 5 HY 200DB           6,614          0
 147 Quick Pic-n-Sft 76 Rod Bucket                 1/01/14        1,550        X  X            0 7 HY 200DB           1,550          0
 148 Quick Snow Away 85                            1/01/14        7,150        X  X            0 7 HY 200DB           7,150          0
 149 Trencher Attachment                           7/25/14        7,350        X  X            0 7 HY 200DB           7,350          0
 150 Leasehold Improvements                        2/02/15        9,079                    9,079 39 MM S/L              902        233
 151 Tile                                          7/23/15        1,885        X  X            0 5 HY 200DB           1,885          0
 152 Construction Trailer                          1/22/15        1,650        X  X            0 5 HY 200DB           1,650          0
 153 Pallets for skid steer                        2/18/15        1,060        X  X            0 5 HY 200DB           1,060          0
 157 Portable Screening                            5/19/16       41,900           X       20,950 7 HY 200DB          32,738      2,618
 159 Disolved Oxygen Monitor Eq                    6/23/17        8,653           X        4,326 7 HY 200DB           6,004        757
 160 Firewood Processor                            4/07/17       29,000           X       14,500 7 HY 200DB          20,122      2,537
 161 Mahogany Conference Table                     5/22/17        2,830           X        1,415 7 HY 200DB           1,964        247
 162 Edenville Electrical Upgrade                11/27/17         1,260           X            0 7 HY 200DB           1,260          0
 163 2016 Chevy Plow Truck                         8/10/17       40,750           X       20,375 5 HY 200DB          30,970      3,912
 164 Wood Burning Stove                            8/07/17        8,068           X        4,034 7 HY 200DB           5,598        706
 165 50kw Diesel Generator                         4/19/18       18,000           X            0 5 HY 200DB          18,000          0
 166 Electrical Upgrades                           1/12/18        6,604           X            0 7 HY 200DB           6,604          0
 167 Whisperwatt Diesel Generator                  4/19/18       14,000           X            0 5 HY 200DB          14,000          0
 169 Winch Equipment                               4/18/18        6,672           X            0 5 HY 200DB           6,672          0
 170 Alloy Chain                                   9/14/18       11,838           X            0 5 HY 200DB          11,838          0
 171 Power Unit                                  10/26/18        11,081           X            0 5 HY 200DB          11,081          0
                                                              1,435,280                  834,865                  1,172,370     20,020


Other Depreciation:
 100 AutoCAD 2013                                11/30/12         5,236            X       2,618   3 MOAmort         5,236              0
 103 Windows 7 Drafting                          11/09/12         1,940            X         970   3 MOAmort         1,940              0
                Total Other Depreciation                          7,176                    3,588                     7,176              0


                 Total ACRS and Other Depreciation                7,176                    3,588                     7,176              0


Listed Property:
  57 Chevy S10 2004                              11/09/10       12,494                    12,494   5 MQ200DB        12,494              0
                       Sold/Scrapped: 11/25/19
  98 2002 Chevy S10                              7/17/12          3,100            X       1,550   5 HY 200DB        3,100              0
                         Sold/Scrapped: 6/04/19
 107   Military 3/4 Ton Pickup                   6/18/12         4,307             X       2,154   5   HY 200DB      4,307            0
 155   2016 Chevy Silverado                      6/29/16        50,549             X      38,989   5   HY 200DB     20,610        2,075
 156   2006 Chevy Silverado                      6/15/16        10,879                    10,879   5   HY 200DB      7,746        1,253
 158   2000 GMC Sonoma Truck                     5/26/17        15,000                    15,000   5   HY 200DB      7,800        2,880
  24   Chevy S10 PUT F198                       11/11/06         6,633                     6,633   5   MQ200DB       6,633            0
 168   2016 Chevy Silverado                      6/22/18        35,975         X               0   5   HY 200DB     35,975            0
                                                               138,937                    87,699                    98,665        6,208


Amortization:
 26 Covenant not to compete                         3/15/06    400,000                   400,000 15 MOAmort        342,222      26,667
                                                               400,000                   400,000                   342,222      26,667


                 Grand Totals                                 2,022,591                1,326,152                  1,620,433     94,093
                 Less: Dispositions and Transfers                15,594                   14,044                     15,594          0
                 Less: Start-up/Org Expense                           0                        0                          0          0
                 Net Grand Totals                             2,006,997                1,312,108                  1,604,839     94,093




              20-21214-dob           Doc 1       Filed 07/31/20           Entered 07/31/20 21:56:20       Page 41 of 47
 BOY006 Boyce Hydro, LLC                                04/15/2020 3:01 PM
 XX-XXXXXXX      Future Depreciation Report FYE: 12/31/20
 FYE: 12/31/2019              Form 1065, Page 1

                                                 Date In
Asset                   Description              Service     Cost       Tax       AMT          ACE


Prior MACRS:
  15    Bulldozer                                 9/18/07      25,000         0         0            0
  16    Cargo Trailer                             7/24/07       3,312         0         0            0
  18    Dewatering Pump                          10/04/07       4,500         0         0            0
  29    HP color laser                            7/21/08         700         0         0            0
  31    International dump truck                 10/10/08     104,411         0         0            0
  32    Portable generator                       11/12/08       3,950         0         0            0
  33    Pontoon boat                              8/18/08       7,311         0         0            0
  49    Air Compressor                            6/18/09       3,000         0         0            0
  50    JD Tractor                               11/10/09      31,800         0         0            0
  58    Trailer                                   3/02/10       1,461         0         0            0
  63    Fowler Mini Level                        10/08/10       7,452         0         0            0
  64    HP Design Jet 1055 Plotter                5/19/10       2,500         0         0            0
  66    JD Brushcutter                            7/06/10       4,076         0         0            0
  67    JD Skid Steer Loader                      7/06/10      15,000         0         0            0
  68    Tractor Rake                              8/24/10       1,060         0         0            0
  69    Leasehold Improvements                    5/21/10         837        21        21            0
  70    Pole Mounted Chainsaw                     7/21/10         620         0         0            0
  77    Splitter                                  7/06/10       2,879         0         0            0
  93    Wood Chipper                              8/18/11       4,019         0         0            0
  95    Trailer                                   1/06/11      21,250         0         0            0
  96    Cabinets                                  7/16/11         900         0         0            0
  97    Pontoon Boat                             11/12/11       1,375         0         0            0
 101    Bandit Wood Chipper 2                     7/26/12      31,198         0         0            0
 104    Concrete Pumper Truck                     9/24/12      42,500         0         0            0
 105    JD Skid Steer Loader                      5/15/12       4,030         0         0            0
 106    JD Skid Steer Loader 2                    7/27/12      60,675         0         0            0
 108    Military Dump Truck                       6/18/12       9,550         0         0            0
 109    Power Axe Shears                          8/18/12       4,200         0         0            0
 110    Rockwell Planer                           7/18/12       1,890         0         0            0
 111    Sounding Tool                             5/18/12       6,400         0         0            0
 113    Furniture                                 1/01/12       1,690         0         0            0
 114    Auger                                     7/06/10       3,194         0         0            0
 115    Trailer                                   9/08/10       4,439         0         0            0
 116    Non-dam property improvements             6/18/13       5,421       160       160            0
 117    Dissolved oxygen monitoring equip         5/18/13      22,068         0         0            0
 118    Crimping Tools & Dies                     8/09/13       8,112         0         0            0
 119    Electric Heater                           2/19/13       1,852         0         0            0
 120    Spillway Hoists                           1/01/13      13,134         0         0            0
 121    Spillway Hoists                           2/14/13       4,846         0         0            0
 122    Filing Cabinet                            2/18/13       1,654        37        37            0
 123    Leasehold Improvements                    7/01/13     108,081     2,771     2,771            0
 124    Wood Chipper                              1/25/13       7,041         0         0            0
 125    1997 Dump Truck                          10/15/13       7,350         0         0            0
 126    Generators & Trailer                      3/20/13       8,500         0         0            0
 127    Generator                                 5/25/13         612         0         0            0
 128    JD Crawler Dozer                         11/01/13      68,000         0         0            0
 129    JD Skidsteer 3                            9/11/13      70,500         0         0            0
 130    JD Skidsteer 2 Cab                        1/16/13         574         0         0            0
 131    Komatsu 2011 Excavator                    8/16/13     122,875         0         0            0
 132    Komatsu Bulldozer Repair                 11/26/13         909         0         0            0
 133    Komatsu PC200-7 Excavator                10/01/13      86,045         0         0            0
 134    Military 3/4 ton pickup Repairs           7/18/13       6,243         0         0            0
 135    Military dump truck repairs              10/18/13       5,727         0         0            0
 136    Rotary Brush Mover                        6/23/13       5,395         0         0            0
 137    Volvo Dump Truck                         10/08/13      13,000         0         0            0
 138    JD Skidsteer Repairs                      4/30/13      10,209         0         0            0
 139    Ditching Bucket                          11/03/14       4,634         0         0            0
 140    Jointer                                  12/02/14       5,500         0         0            0
 141    Leasehold Improvements                   12/15/14     137,480     3,525     3,525            0
 142    Paint Booth                               8/14/14       1,940         0         0            0
 143    Concrete Forms                            9/30/14      34,705         0         0            0
 144    Transmission for Dump Tk                  1/18/14       4,719         0         0            0
 145    JD 960R Z Track Mower                     5/20/14      13,981         0         0            0
 146    Komatsu PC138 Excavator                   1/25/14       6,614         0         0            0
 147    Quick Pic-n-Sft 76 Rod Bucket             1/01/14       1,550         0         0            0
 148    Quick Snow Away 85                        1/01/14       7,150         0         0            0
 149    Trencher Attachment                       7/25/14       7,350         0         0            0

            20-21214-dob           Doc 1    Filed 07/31/20   Entered 07/31/20 21:56:20      Page 42 of 47
 BOY006 Boyce Hydro, LLC                                04/15/2020 3:01 PM
 XX-XXXXXXX      Future Depreciation Report FYE: 12/31/20
 FYE: 12/31/2019              Form 1065, Page 1

                                                       Date In
Asset                        Description               Service    Cost        Tax       AMT          ACE
 150     Leasehold Improvements                         2/02/15       9,079       233       233            0
 151     Tile                                           7/23/15       1,885         0         0            0
 152     Construction Trailer                           1/22/15       1,650         0         0            0
 153     Pallets for skid steer                         2/18/15       1,060         0         0            0
 157     Portable Screening                             5/19/16      41,900     1,870     1,870            0
 159     Disolved Oxygen Monitor Eq                     6/23/17       8,653       541       541            0
 160     Firewood Processor                             4/07/17      29,000     1,812     1,812            0
 161     Mahogany Conference Table                      5/22/17       2,830       177       177            0
 162     Edenville Electrical Upgrade                  11/27/17       1,260         0         0            0
 163     2016 Chevy Plow Truck                          8/10/17      40,750     2,347     2,347            0
 164     Wood Burning Stove                             8/07/17       8,068       504       504            0
 165     50kw Diesel Generator                          4/19/18      18,000         0         0            0
 166     Electrical Upgrades                            1/12/18       6,604         0         0            0
 167     Whisperwatt Diesel Generator                   4/19/18      14,000         0         0            0
 169     Winch Equipment                                4/18/18       6,672         0         0            0
 170     Alloy Chain                                    9/14/18      11,838         0         0            0
 171     Power Unit                                    10/26/18      11,081         0         0            0
 172     Electric Chain Hoist                           9/18/19       2,758         0         0            0
 173     Turbine Parts                                 10/22/19      17,440         0         0            0
 174     Spider Mower                                   6/05/19      21,000         0         0            0
                                                                  1,476,478    13,998    13,998            0


Other Depreciation:
 100     AutoCAD 2013                                  11/30/12       5,236         0         0            0
 103     Windows 7 Drafting                            11/09/12       1,940         0         0            0
               Total Other Depreciation                               7,176         0         0            0


                   Total ACRS and Other Depreciation                  7,176         0         0            0


Listed Property:
 107     Military 3/4 Ton Pickup                        6/18/12      4,307          0         0            0
 155     2016 Chevy Silverado                           6/29/16     50,549      2,075     2,075            0
 156     2006 Chevy Silverado                           6/15/16     10,879      1,253     1,813            0
 158     2000 GMC Sonoma Truck                          5/26/17     15,000      1,728     2,075            0
  24     Chevy S10 PUT F198                            11/11/06      6,633          0         0            0
 168     2016 Chevy Silverado                           6/22/18     35,975          0         0            0
                                                                   123,343      5,056     5,963            0


Amortization:
  26     Covenant not to compete                        3/15/06    400,000     26,667    26,667            0
                                                                   400,000     26,667    26,667            0


                   Grand Totals                                   2,006,997    45,721    46,628            0




                20-21214-dob           Doc 1   Filed 07/31/20     Entered 07/31/20 21:56:20       Page 43 of 47
                                                               United States Bankruptcy Court
                                                                     Eastern District of Michigan
 In re      Boyce Hydro, LLC                                                                                          Case No.
                                                                                    Debtor(s)                         Chapter        11

                                                         LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                         Kind of Interest
 business of holder
 William D. Boyce Trust No. 2350                                                      30.55%                                     Membership Interest



 William D. Boyce Trust No. 3649                                                      46.30%                                     Membership Interest



 William D. Boyce Trust No. 3650                                                      23.15%                                     Membership Interest



DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

         I, the Co-Managing Member of the corporation named as the debtor in this case, declare under penalty of perjury
that I have read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information
and belief.



 Date July 31, 2020                                                          Signature /s/ Lee W. Mueller
                                                                                            Lee W. Mueller

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy


             20-21214-dob                   Doc 1          Filed 07/31/20          Entered 07/31/20 21:56:20                       Page 44 of 47
Revised 02/04
                                                               United States Bankruptcy Court
                                                                     Eastern District of Michigan
 In re      Boyce Hydro, LLC                                                                               Case No.
                                                                                   Debtor(s)               Chapter     11



                                                         STATEMENT OF DEBTOR REGARDING
                                                              CORPORATE OWNERSHIP


            The following entities directly or indirectly own 10% or more of any class of the debtor's equity interest:

               Name:             William D. Boyce Trust No. 2350 (30.55%)
               Address:
               Name:             William D. Boyce Trust No. 3649 (46.30%)
               Address:
               Name:             William D. Boyce Trust No. 3650 (23.15%)
               Address:

            (For additional names, attach an addendum to this form)

            There are no entities that directly or indirectly own 10% or more of any class of the debtor's equity
            interest.

                        I declare under penalty of perjury that the foregoing is true and correct.


 Dated:        July 31, 2020                                          /s/ Lee W. Mueller
                                                                      Signature of Authorized Individual
                                                                      For Corporation Debtor



                                                                      Lee W. Mueller
                                                                      Print Name



                                                                      Co-Managing Member
                                                                      Title




Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                               Best Case Bankruptcy
             20-21214-dob                   Doc 1          Filed 07/31/20          Entered 07/31/20 21:56:20          Page 45 of 47
 Fill in this information to identify the case:

 Debtor name         Boyce Hydro, LLC

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF MICHIGAN

 Case number (if known)
                                                                                                                                  Check if this is an
                                                                                                                                  amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                         12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          July 31, 2020                           X /s/ Lee W. Mueller
                                                                       Signature of individual signing on behalf of debtor

                                                                       Lee W. Mueller
                                                                       Printed name

                                                                       Co-Managing Member
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                         Best Case Bankruptcy




             20-21214-dob                   Doc 1          Filed 07/31/20              Entered 07/31/20 21:56:20             Page 46 of 47
                                                               United States Bankruptcy Court
                                                                     Eastern District of Michigan
 In re      Boyce Hydro, LLC                                                                           Case No.
                                                                                  Debtor(s)            Chapter     11




                                               VERIFICATION OF CREDITOR MATRIX


I, the Co-Managing Member of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true

and correct to the best of my knowledge.




 Date:       July 31, 2020                                             /s/ Lee W. Mueller
                                                                       Lee W. Mueller/Co-Managing Member
                                                                       Signer/Title




Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                           Best Case Bankruptcy
             20-21214-dob                   Doc 1          Filed 07/31/20        Entered 07/31/20 21:56:20        Page 47 of 47
